 Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 1 of 79




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               STATESBORO DIVISION


 MIGUEL JACKSON; and KELVIN
 STEVENSON,

                Plaintiffs,                                  CIVIL ACTION NO.: 6:12-cv-113

         v.

 JOSEPH CATANZARITI, et al.,

                Defendants.


                                            ORDER

       Before the Court are Defendants Joshua Eason, Derius Attical, and Sherry Ritchie’s

Motions for Summary Judgment as to all claims brought against them in this action. (Docs. 233,

237, 244.) This case arises out of a December 31, 2010 disturbance at Smith State Prison in

Glennville, Georgia, where Plaintiffs allege that Defendants, corrections officers, either subjected

them to excessive force or failed to intervene on their behalf, or both, in violation of their

constitutional rights. (Doc. 24.) Against Defendants Eason, Attical, and Ritchie, Plaintiffs bring

Eighth Amendment excessive force and failure to intervene claims pursuant to 42 U.S.C. § 1983,

regarding alleged unlawful force inflicted upon them in the prison dorm, during their escort to the

infirmary, and while they were in the infirmary. (Id.) In their Motions for Summary Judgment,

Defendants Eason, Attical, and Ritchie argue that the undisputed evidence shows they neither used

excessive force against Plaintiffs nor were in a position to intervene in other officers’ use of force

during the events in question. (Docs. 233, 237, 244; see also docs. 233-1, 238, 244-1.) They also

contend that qualified immunity bars Plaintiffs’ claims against them. (Id.) Plaintiffs filed
 Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 2 of 79




Responses in Opposition, (docs. 277, 278, 282), to which Defendants Eason, Attical, and Ritchie

filed Replies, (docs. 293, 294, 295).

       For the reasons set forth below, the Court GRANTS in part and DENIES in part

Defendants Eason and Attical’s Motions for Summary Judgment, (docs. 233, 237), but GRANTS

in full Defendant Ritchie’s Motion for Summary Judgment, (doc. 244). Specifically, the Court:

       •   GRANTS Defendant Eason’s Motion as to: both Plaintiffs’ in-dorm failure to
           intervene and excessive force claims; Plaintiff Stevenson’s escort excessive
           force claim; and both Plaintiffs’ claims regarding failure to intervene and
           excessive force in the prison’s infirmary. As such, the Court DISMISSES with
           prejudice these claims against Defendant Eason as well as Plaintiffs’
           supervisory liability claims against him.

       •   DENIES Defendant Eason’s Motion as to: the portion of his Motion predicated
           on Plaintiffs’ alleged failure to exhaust and state a claim; and both Plaintiffs’
           escort failure to intervene claims and as to Plaintiff Jackson’s escort excessive
           force claim. As such, these claims remain pending before the Court.

       •   GRANTS Defendant Attical’s Motion as to: Plaintiff Jackson’s in-dorm failure
           to intervene and excessive force claims; Plaintiff Stevenson’s escort excessive
           force claim; and both Plaintiffs’ claims regarding failure to intervene and
           excessive force in the prison’s infirmary. As such, the Court DISMISSES with
           prejudice these claims against Defendant Attical.

       •   DENIES Defendant Attical’s Motion as to: Plaintiff Stevenson’s in-dorm
           failure to intervene and excessive force claims; Plaintiff Jackson’s escort failure
           to intervene and excessive force claims; and Plaintiff Stevenson’s escort failure
           to intervene claim. As such, these claims remain pending before the Court.

       •   GRANTS Defendant Ritchie’s Motion as to all failure to intervene and
           excessive force claims alleged against her by Plaintiffs. As such, the Court
           DISMISSES with prejudice all of Plaintiffs’ claims against her and
           DIRECTS the Clerk of Court to TERMINATE her as a Defendant upon the
           docket and record of this case.




                                                 2
    Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 3 of 79




        In light of this disposition, the Court ORDERS all remaining parties to file one joint

updated status report within twenty-one (21) days of the date of this Order. 1 The parties shall

address the status of this case and whether the parties are prepared to proceed to trial. The parties’

report must also address the status of those Defendants who were not subject to this Order or the

companion Order filed contemporaneously herewith, (doc. 313).                As previously indicated,

(docs. 174, 231), the parties have discussed voluntarily dismissing, pursuant to Federal Rule of

Civil Procedure 41(a), the following yet to be dismissed Defendants: Carolyn Carrol, Kim Hardee,

Jeffery Mullis, and Joseph White. However, in their Stipulation of Dismissal, (doc. 232), the

parties declined to dismiss these Defendants, and they remain in this case. The parties must update

the Court on the status of these defendants and their relevancy to this case. Furthermore, Plaintiffs

have failed to file the requisite proof of service as to Defendants Brandon Cearnel, Christopher

Henderson, Candice Hill, John Jones, Justin Swope, and Gene Tootle. Pursuant to Federal Rule

of Civil Procedure 4(m), the Court ORDERS Plaintiffs to show cause, within twenty-one (21)

days of the date of this Order, as to why these Defendants should not be dismissed from this action

for lack of timely service. Additionally, Plaintiffs must explain these Defendants’ continued

relevancy to this case and what actionable claims, if any, remain against them. Alternatively,

Plaintiffs may move to dismiss these Defendants rather than showing cause regarding Plaintiffs

failure to properly comply with Federal Rule of Civil Procedure 4(m).




1
   This is a reiteration of the direction that the Court issued in its Order on other Defendants’ summary
judgment motions filed contemporaneously with this Order, (doc. 313). In other words, the parties should
only file one joint status report in response to the two Orders.


                                                   3
    Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 4 of 79




                                          BACKGROUND

I.      Procedural History

        Plaintiffs, formerly inmates at Smith State Prison (“Smith State”) in Glennville, Georgia,

brought this 42 U.S.C. § 1983 action on December 10, 2012, alleging that Defendants violated

their constitutional right to be free from excessive force while they were incarcerated at Smith

State. (Doc. 1.) Plaintiffs filed their First Amended Complaint on January 25, 2013, specifically

claiming that, during a prison disturbance occurring the night of December 31, 2010, Defendants

used excessive force against them, failed to intervene in other officers’ use of excessive force

against them, or both. (Doc. 24, pp. 5–17.) Plaintiffs set forth these claims under two general

counts: Count One against all Defendants for violations of the Eighth and Fourteenth

Amendments; and Count Two against Defendant Eason and two other Defendants for Supervisory

Liability. (Id. at pp. 17–21.) After Plaintiffs filed their First Amended Complaint, the Court stayed

this civil action while criminal proceedings against Plaintiffs, stemming from the December 31,

2010 incident at Smith State, ran their course. (Doc. 81.)

        Over three years later, following the end of criminal proceedings against Plaintiffs, the

Court lifted the previously imposed stay. (Doc. 118.) A lengthy, disputed, and heavily litigated

discovery period ensued. (See, e.g., Docs. 168, 175, 177, 196, 202, 221, 222, 224–26, 228.) After

multiple extensions and the resolution of several disputes, discovery in this case finally closed on

December 15, 2017, with motions for summary judgment due on February 5, 2018. (Docs. 221,

228.) Pursuant to this deadline, Defendants Eason, Attical, and Ritchie (“Defendants”) filed the

present Motions for Summary Judgment. 2 (Docs. 233, 237, 244.)


2
 Throughout the remainder of this Order the Court collectively refers to Defendants Joshua Eason, Derius
Attical, and Sherry Ritchie as “Defendants.” The Court notes, however, that other Defendants in this
matter—Jarrod Bennett, Nathaniel Milton, Melvin Wells, Andrew McFarlane, Gordon Pittman, and Gary
Mitchell—have also moved for summary judgment as to Plaintiffs’ excessive force and failure to intervene


                                                   4
    Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 5 of 79




II.     Factual Background

        The Court begins this Background section by setting forth the general, undisputed facts of

the case relevant to the disposition of Defendants’ Motions for Summary Judgment. Subsequently,

the Court delves into the facts, both undisputed and disputed, particular to each Defendant’s

Motion presently before the Court.

        At the time of the subject events, Plaintiffs were inmates in the custody of the Georgia

Department of Corrections (“GDC”) and assigned to the D-2 dorm at Smith State. 3 (Doc. 282-1,

p. 1.) On the night of December 31, 2010, corrections officers in charge of D-2 instituted a

lockdown to search for contraband and released the inmates to dinner. (Doc. 278-1, p. 1.) While

searching cell D-234, located on the second story of the dorm and assigned to Plaintiff Jackson,

Defendant Joseph Catanzariti uncovered a substance resembling marijuana hidden in a pillow.

(Doc. 277-1, p. 2.) Defendant Catanzariti continued his search and located cellphones hidden

behind a heater vent; he then requested a screwdriver, hammer, and channel locks so that he could

open the vent and seize the contraband. (Id.)

        Defendant Catanzariti and the other officers had not yet finished conducting their

contraband search when inmates returned to D-2 from dinner. 4 (Doc. 278-1, p. 2.) Inmates were


claims against them. (Doc. 240.) Still other Defendants in this matter—Joseph Catanzariti, Sheldon
Deloach, Michael Deloach, Caleb Harrison, and Timothy Simmons—have declined to move for summary
judgement. The Court addresses the Motion for Summary Judgment at Docket Number 240 by separate
order, filed concurrently herewith.
3
  The D-2 dormitory has two levels of prison cells that run along the edges of a roughly v-shaped common
area; the second story is accessible from the common area by two sets of stairs, which lead to a railed-off,
open walkway, or range, that runs in front of the second-story cells. (Doc. 278-1, p. 1; see also doc. 273-1
(floor plan of D-2); doc. 273-2, pp. 10–14, 41–45 (photographs of D-2).)
4
  Around the time the inmates returned from dinner, a corrections officer began recording with a handheld
video camera outside the area where the contraband search occurred. (Doc. 278-1, p. 2.) This video
captured some, but not all, of the events in question. (See Doc. 282-1, pp. 7–12.) In addition, three
stationary security cameras located in D-2 captured footage of parts of the incident. (Id. at pp. 7–8.)
Plaintiffs and Defendants manually filed copies of this video footage with the Court. (See Docs. 241, 286.)


                                                     5
 Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 6 of 79




moving freely about the dorm on the top and bottom ranges as Defendant Catanzariti searched cell

D-234. (Doc. 277-1, p. 2.) Before the disturbance began, multiple inmates dressed in heavy

clothing and boots were congregating outside of D-234, which caused officers concern that an

incident was imminent and prompted a call for assistance. (Id. at pp. 2–4; doc. 282-1, pp. 2–3.)

Defendants Ritchie and Bennett were present with Defendant Catanzariti at that time, and over ten

additional officers eventually arrived on the top range. (Doc. 277-1, p. 4.) In total, approximately

ninety-six inmates who resided in D-2 were in various parts of the dorm at this time. (Doc. 282-

1, p. 2.) At some point after inmates returned from dinner, Defendants Catanzariti and Andrew

McFarlane ordered the inmates to “lockdown” by going into their cells and closing the door.

(Doc. 291, pp. 7–8.) Some inmates, however, refused to lockdown. (Id.)

        After the lockdown was ordered and additional officers had arrived on the scene, (id.),

Defendant Catanzariti finished searching D-234 and exited onto the walkway carrying tools and

contraband seized from the cell, (doc. 277-1, pp. 3–4; doc. 278-1, p. 2). Plaintiffs went upstairs to

ask Defendant Catanzariti about the lockdown. (Doc. 291, p. 8.) As Defendant Catanzariti walked

on the second-story range outside of cell D-234, Plaintiff Jackson, who resided in the searched

cell, confronted Catanzariti and told him to “give me that stuff.” (Doc. 282-1, p. 3.) The two

exchanged words, and Plaintiff Jackson then, according to him, “playfully swiped” at Catanzariti,



The video from the handheld camera features audio of the events, but the surveillance videos do not. (Id.)
For ease of reference, the Court cites to the manually filed videos at Docket Number 241 and refers to them,
based on their source and file name, as follows: handheld video footage (“HHV”); dorm security footage
from camera seven (“CAM 7”); dorm security footage from camera eight (“CAM 8”); and dorm security
footage from camera nine (“CAM 9”). As indicated by the parties, the surveillance camera video, which is
stamped in military time, reflects a time approximately fifty-three minutes and thirty-three seconds earlier
than the time reflected on the handheld video, which is stamped in standard time. (Doc. 233-2, p. 82;
doc. 282-1, p. 19.) The Court has reviewed the footage from each of these sources and relies upon it in
conjunction with deposition testimony and other evidence of record. When relying on particular video
footage, the Court will cite to the exact time as indicated by the video’s timestamp. In addition, where
appropriate, the Court will convert the timestamps of each video type so as to provide evidence from both
the surveillance and handheld videos of the same point in time.


                                                     6
    Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 7 of 79




causing Catanzariti to turn away to protect the tools and contraband he held in his hands. (Id. at

pp. 3–4; doc. 278-1, pp. 2–3.) Defendant Catanzariti then struck Plaintiff Jackson in response. 5

(Doc. 277-1, pp. 6, 16.) Immediately following this altercation, the disturbance erupted with

several inmates and officers fighting in a skirmish close by on the upper level range. (Doc. 277-

1, pp. 4–6; see also doc. 278-1, p. 3; doc. 282-1, p. 4.)

        During the disturbance, both Plaintiffs were involved in separate physical altercations with

officers on the upper range. (Doc. 282-1, p. 2.) Defendant Ritchie called for backup and more

officers arrived on the scene. (See Doc. 291, pp. 12–14.) After Plaintiff Stevenson was handcuffed

and restrained in a prone position on the ground by two officers, Defendant Catanzariti struck

Stevenson multiple times toward his head area. 6 (Doc. 291, pp. 21–22; HHV at 11:02:47–

11:02:52PM.) Elsewhere in the dorm, inmates were in their cells or assumed prone positions on

the ground as officers worked to regain control of the situation. (CAM 7 at 22:04:30–22:09:45.)

In order to quell the disturbance, officers deployed pepper spray and were able to quickly subdue

the inmates. (Doc. 278-1, p. 3; doc. 282-1, p. 25.) Starting from when the commotion began until

the time at which corrections officers on the scene had largely quelled the situation, approximately

two minutes passed. (See HHV at 11:00:00–11:03:45PM; CAM 9 at 22:07:20–22:09:30.)

        However, soon after officers regained control of the situation, Defendant Catanzariti

became involved in another physical altercation with Plaintiff Jackson. (Doc. 282-1, pp. 26–28;


5
   Although what is recounted above is undisputed as described, Plaintiffs and Defendants vigorously
dispute anything more specific about what occurred between Plaintiff Jackson and Defendant Catanzariti
outside of D-234 before the disturbance began. (See, e.g., Doc. 277-1, pp. 3–6; doc. 278-1, pp. 2–3;
doc. 278-1, pp. 5–6; doc. 282-1, pp. 3–4.)
6
  The parties agree that Defendant Catanzariti struck Plaintiff Stevenson, but they dispute the number of
times Stevenson was struck, whether Catanzariti used a hammer or some other object to strike Stevenson,
and the extent to which, if at all, Stevenson was resisting at that time. (See, e.g., Doc. 291, pp. 21–22;
doc. 282-1, pp. 14–15; doc. 277-1, pp. 8–9.)



                                                    7
    Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 8 of 79




HHV 11:04:00–11:07:43PM.) In this instance, Defendant Catanzariti made an arm movement

toward Plaintiff Jackson’s head with an object in his hand—while Jackson was handcuffed, held,

and surrounded by other officers—that caused Jackson to collapse to the ground. 7 (Doc. 291,

pp. 124–29; HHV at 11:07:25–11:07:40PM.) Officers, including Defendant Eason, then escorted

a bloodied Plaintiff Jackson down the stairs from the upper range and out of the D-2 dormitory.

(Doc. 282-1, pp. 29–32, 36; HHV at 11:07:40–11:08:03PM.) Less than one minute prior to this

escort, Defendant Harrison and another officer escorted a bloodied Plaintiff Stevenson down the

same stairs and out of D-2, toward the infirmary. (Doc. 268, pp. 7, 11–12, 25–27; HHV at

11:06:51–11:06:59PM; CAM8 at 22:13:30–22:13:40.)

        Once out of the dormitory, Plaintiffs were taken to the prison infirmary for treatment.

(Doc. 278-1, p. 9.) Plaintiffs allege that, after being steered through D-2’s sally port and brought

outside, multiples officers repeatedly beat them during the rest of their escort to the infirmary and

while they were held there. 8 (Id.; doc. 282-1, pp. 36–39.) Plaintiffs’ medical conditions required

that they be taken to the hospital that night for evaluation and treatment, but they did not stay

overnight and later returned to Smith State’s medical unit. (Doc. 291, pp. 22–23, 63–64; see

doc. 233-2, pp. 84–94 (Plaintiffs’ medical records).)

        Plaintiff Stevenson suffered extensive injuries to his head area, including a fractured right

eye orbital socket (upper and lower), a broken jaw, damage to a vertebra in his neck, severe facial


7
  Similar to the disturbance altercation between Plaintiff Stevenson and Defendant Catanzariti, the parties
agree that Defendant Catanzariti motioned his arm toward Plaintiff Jackson while holding an object, but
they dispute whether that movement made contact and whether Catanzariti held a flashlight, metal detector
wand, or some other object in his hand when motioning toward Jackson. (See, e.g., Doc. 282-1, pp. 26–28;
doc. 291, pp. 124–29.)
8
  The sally port is a gateway between D-2 and a fenced-in walkway outside, which has a secured vestibule
between the outside walkway and the dorm. (See Doc. 273-1; doc. 273-2, pp. 1, 42, 55–58, 62.) From the
secured vestibule, one can enter the D-2 control room, the bottom floor of the dorm itself, or exit to the
outdoor walkway. (Id.)


                                                    8
 Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 9 of 79




damage on the right side of his face, nerve damage in his shoulder and neck, lost teeth, headaches,

and PTSD. (Id. at pp. 22, 60; see also doc. 259-2, pp. 52–54 (photographs of Plaintiff Stevenson’s

injuries); doc. 233-2, pp. 89–94 (Plaintiff Stevenson’s medical records.)) Plaintiff Jackson’s

injuries were not as significant, but per his testimony, he suffered a broken nose, facial lacerations,

a knocked-out tooth, knee complications, a ruptured ear drum, headaches, and PTSD. (Doc. 291,

p. 145; see also doc. 282-2, pp. 10–11 (photographs of Plaintiff Jackson’s knee injury); doc. 281,

pp. 46–48 (photographs of Plaintiff Jackson’s head injuries); doc. 233-2, pp. 84–88 (Plaintiff

Jackson’s medical records).) The medical evidence of record shows that both Plaintiffs’ main

injuries were to their head areas. (See Doc. 282-1, pp. 34, 41.)

       With this general overview in mind, the Court now turns to detailing what the evidence

shows Defendants did, or did not do, in relation to the prison disturbance incident and Plaintiffs’

ensuing excessive force and failure to intervene claims. The Court begins each section by outlining

the specific claims Plaintiffs maintain against each Defendant at summary judgment, based on

their stipulations to the evidence of record. To parallel Plaintiffs’ alleged claims, the Court will

recount what the evidence shows as to these Defendants’ conduct in the D-2 dorm, during the

escort to the prison’s infirmary, and in the infirmary. As will be seen, the parties dispute much of

the evidence in this regard.

       A.      Defendant Joshua Eason

       Against Defendant Eason, Plaintiffs are pursuing claims for his alleged: (1) failure to

intervene in Plaintiffs’ dorm altercations with officers, (2) failure to intervene in the events which

took place during Plaintiffs’ escort outside of D-2, and (3) excessive force during Plaintiff

Jackson’s escort outside. (See Doc. 282-1, pp. 4–9, 20–23, 27–32, 35–40.)




                                                  9
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 10 of 79




               (1)     Events in the D-2 Dormitory

       Prior to the start of the disturbance, Defendant Eason entered D-2 carrying a large pepper-

spray canister and walked half-way up the stairs nearest where inmates were gathering before

walking back downstairs. (Doc. 282-1, p. 11; CAM 8 at 22:06:16–22:07:21.) When the skirmish

between officers and inmates began seconds later, Defendant Eason stood on the bottom range of

D-2, just below the area of the top range where the disturbance unfolded. (Doc. 282-1, p. 11.)

Almost immediately, he darted toward the action and discharged a torrent of pepper spray upward,

at the skirmishing group of officers and inmates, for approximately thirteen seconds. (Id.; CAM

9 at 22:07:22–22:07:37.) He then went upstairs to assist Officer Henderson in handcuffing an

inmate who was to the left of the top of the stairs, but the parties dispute which inmate Defendant

Eason assisted with, and the evidence on this point is unclear. (Doc. 282-1, p. 12; CAM 8 at

22:07:50–22:07:57; CAM 9 at 22:07:43–22:07:52.)

       Defendant Eason testified that, although he did not recall going upstairs at this time, he

believed the video evidence showed him assisting with handcuffing Plaintiff Jackson. (Doc. 270,

pp. 24–25.) Officer Henderson testified that he was not sure whether Defendant Eason assisted in

handcuffing either Plaintiff Stevenson or Jackson and that he was also not sure whether he himself

ever cuffed either Plaintiff, but Henderson acknowledged that his witness statement indicated he

handcuffed Plaintiff Jackson. (Doc. 266, pp. 4–6, 15, 25–26, 28.) Surveillance camera footage

depicts Defendant Eason going upstairs and bending down to assist with an inmate located at the

top of the stairs to the left, in the location where Plaintiff Jackson alleges Defendant Catanzariti

struck him. (CAM 8 at 22:07:50–22:09:07; CAM 9 at 22:07:43–22:09:02; HHV at 11:07:27–

11:07:32PM; doc. 282-1, pp. 25–27; see also doc. 259-2, p. 5 (Plaintiff Stevenson’s Declaration




                                                10
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 11 of 79




identifying himself in the skirmish located further down to the left of the upper range from where

Plaintiff Jackson alleges Defendant Catanzariti struck him).)

       After assisting for approximately one minute, Defendant Eason headed back down the

stairs and toward the control booth, away from the top-range skirmishes. (Doc. 282-1, pp. 12–13;

CAM 8 at 22:09:00–22:09:18; CAM 9 at 22:09:02–22:09:08.) At this juncture, Defendant Eason

appears to have left the scene as he was no longer visible on the surveillance camera video. (Id.)

While Defendant Eason was away from the action, Defendant Catanzariti struck Plaintiff

Stevenson several times toward the head area. (HHV at 11:02:47–11:02:52PM; doc. 282-1, pp.

14–15; see also doc. 233-2, p. 82 (“Summary of Video Evidence” chart submitted by Defendant

Eason noting that Eason left the upper range fifteen seconds before the strikes seen on the HHV).)

Sixteen seconds later, Defendant Eason returned to the bottom range and walked back up the same

flight of stairs toward where Plaintiffs were restrained. (Doc. 282-1, pp. 13–14; CAM 8 at

22:09:35–22:10:00; CAM 9 at 22:09:38–22:09:56.) The parties dispute, however, whether this

was the only time that Defendant Catanzariti struck Plaintiff Stevenson and also where Defendant

Eason was during all of Catanzariti’s alleged strikes. (Doc. 282-1, pp. 14–23.)

       At his deposition, Plaintiff Stevenson testified Defendant Catanzariti struck him ten to

fifteen times with a hammer, while he was lying handcuffed on the floor of the upper range,

causing him to momentarily lose consciousness. (Doc. 240-3, pp. 10–11, 14, 23–24.) It is

undisputed that part of this alleged beating is shown on the handheld video—from 11:02:47PM to

11:02:52PM—and that during this portion Defendant Eason was not on the upper range.

(Doc. 282-1, pp. 12–17.) However, Plaintiff Stevenson contends that evidence supports his claim

that force was being used against him while Defendant Eason was still on the upper range, before

he headed back downstairs, and that the handheld video fails to show when the hammer beating




                                                11
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 12 of 79




incident began. (Doc. 282-1, pp. 13–22.) Defendant Eason maintains that the handheld video

captured the entirety of the time period during which force was used against Plaintiff Stevenson in

D-2, and that he was downstairs during this time period. (Id.) He also denies ever seeing

Catanzariti using force on an inmate that night, (doc. 270, p. 11).

       Plaintiff Stevenson points to the following evidence to show Defendant Eason was still on

the upper range during part of the alleged hammer beating incident: Officer Hill testified she saw

Defendant Eason on the upper range, near an inmate Catanzariti struck, but she was not sure

whether she observed this before or after the events captured on the handheld held video.

(Doc. 267, pp. 12, 25–26.) Officer Hill testified to seeing Defendant Eason walk from the vicinity

of Catanzariti and the inmate who was lying on the ground at the 11:03:47PM mark, (id. at p. 26),

which is after Catanzariti is shown (on the handheld video) striking Plaintiff Stevenson. Defendant

Attical testified to seeing Defendant Eason with Catanzariti and other officers prior to these strikes,

sometime following the 11:01:52PM mark of the handheld video, but his testimony is unclear as

to precisely when or where he saw Defendant Eason with Catanzariti. (Doc. 214, p. 21; see also

doc. 291, p. 88.) Officer Davis placed Defendant Eason on the upper range, walking leftward

toward a group of officers less than a minute before the strikes captured on the handheld video

occurred, but he was not clear which officers Defendant Eason walked toward. (Doc. 212, pp. 22–

23.) Inmate Satterfield testified that he believed he saw Defendant Eason restraining Plaintiff

Stevenson during the subject hammer attack. (Doc. 262, pp. 15, 25, 28–29.) He also explained

that the at-issue portion of handheld video does not show the time during which he witnessed

Defendant Catanzariti strike Plaintiff Stevenson with a hammer. (Id. at pp. 16–18 (indicating that

HHV sequence 11:02:47–11:02:50PM occurred after what he witnessed).) Lastly, in the period

when Defendant Eason was undisputedly on the upper range after the disturbance broke out—from




                                                  12
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 13 of 79




22:07:50 to 22:09:00 on surveillance cameras eight and nine—Officer Harvey can be heard on the

handheld video shouting, “that a damn hammer.” 9 (HHV at 11:01:46–11:01:50PM; doc. 213,

pp. 13–14.) Officer Harvey testified that she recalled seeing someone holding a hammer on the

upper range at this time but was not sure who. (Doc. 213, pp. 13–14.)

        Sixteen seconds after Defendant Catanzariti struck Plaintiff Stevenson multiple times, as

shown on the handheld video, Defendant Eason reappeared on the bottom range of D-2 and went

up the same flight of stairs he had previously traversed. (Doc. 282-1, pp. 13–14; CAM 8 at

22:09:35–22:10:00; CAM 9 at 22:09:38–22:09:56.) While on the upper range at this time,

Defendant Eason assisted officers, including Defendant Catanzariti, with arresting and escorting

Plaintiff Jackson out of the dormitory. 10 (Doc. 282-1, pp. 26–27, 35–36; doc. 270, pp. 11, 20–23.)

Prior to escorting him outside of D-2, Defendant Eason held a handcuffed Jackson up by the back

of his shirt, against a wall, while surrounded by other officers. (HHV at 11:07:27–11:07:32PM;

doc. 282-1, pp. 26–28.)

        As Defendant Eason held Plaintiff Jackson, Defendant Catanzariti positioned himself

between Jackson and another inmate, and then made a single arm movement with an object toward

Jackson’s head. (Id.) Defendant Catanzariti motioned his arm and the object at Plaintiff Jackson

underneath the arms of Defendant Eason, who did not react. (Id.) Plaintiff Jackson, with




9
  This time period, as shown on surveillance cameras eight and nine, corresponds to 11:01:23–11:02:33PM
on the handheld video, which is also when Defendant Catanzariti was on the upper range after having used
a hammer during the contraband search. (See Doc. 233-2, p. 82.)
10
   Before Defendant Eason is shown on the handheld video assisting with Plaintiff Jackson, he can be seen
on the upper range carrying a baton and walking away from the area where Defendant Catanzariti and
Plaintiff Stevenson’s altercation took place and then down the stairs again. (HHV at 11:03:47–11:04:02PM;
doc. 282-1, pp. 29–30; see also CAM 8 at 22:10:18–22:10:39; CAM 9 at 22:10:14–22:10:30.) Defendant
Eason paced around the bottom area of D-2, baton in hand, until he went back upstairs to the upper range
less than a minute later. (CAM 9 at 22:10:35–22:11:20; see also doc. 270, pp. 25–26.)



                                                   13
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 14 of 79




Defendant Eason still holding the back of his shirt near his arm, then stumbled backward and fell

to his knees. (HHV at 11:07:32–11:07:36PM; doc. 282-1, p. 28.) Thereafter, Defendant Eason

and another officer lifted Plaintiff Jackson up and escorted him down the stairs and toward the exit

of the dormitory, holding him by the back of his shirt. (HHV at 11:07:36–11:07:49PM, 11:07:57–

11:08:04PM; CAM 8 at 22:14:08–22:14:29; doc. 282-1, pp. 30–32.) Defendant Catanzariti and

other officers followed closely behind, escorting another inmate toward D-2’s exit. (CAM 8 at

22:14:11–22:14:30; HHV at 11:08:03PM; doc. 291, pp. 151, 153–55.)

       Although this incident is captured on the handheld video, the parties dispute whether

Defendant Catanzariti contacted Plaintiff Jackson’s person and whether he held a flashlight, metal

detector, or some other object. Additionally, they dispute whether Plaintiff Jackson resisted in

some way and whether he intentionally fell to his knees. (Doc. 282-1, pp. 26–28.) The handheld

video is not absolutely conclusive on these issues and the relevant testimony is conflicting.

(See HHV at 11:07:27–11:07:36PM; doc. 282-1, pp. 26–30.)

               (2)     Escort Outside of the D-2 Dormitory

       Plaintiff Jackson testified that, while outside D-2 and while being escorted to the prison’s

infirmary, six to seven officers beat him in the knees and legs with objects, and kicked and hit him

all over his body. (Doc. 282-1, pp. 33–34; doc. 240-4, pp. 15–16, 18, 33.) Defendant Eason did

not escort Plaintiff Jackson all the way to the infirmary, but he did take Jackson outside of D-2.

(Doc. 282-1, pp. 35–36; doc. 270, p. 11.) Once outside, Defendant Eason worked to clear his eyes

and lungs of pepper spray, and while doing so, other officers took Plaintiff Jackson to the

infirmary. (Id.) According to Plaintiff Jackson, he was assaulted by officers once he was outside

of D-2 and he suffered additional abuse along the way and in the infirmary itself. (Doc. 282-1,

p. 36; doc. 240-4, pp. 15–16, 18, 33.) Three inmates testified to witnessing these assaults against




                                                14
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 15 of 79




Plaintiff Jackson outside of D-2 and on the way to the infirmary. (Doc. 191, pp. 7–8; doc. 192,

pp. 9–10, 19–20; doc. 263, pp. 24–25.) Defendant Eason disputes this account of the events outside

of D-2 and denies using excessive force against Plaintiff Jackson while outside the dorm.

(Doc. 282-1, pp. 5–7; see doc. 270, p. 11.)

       Plaintiff Stevenson also testified to being beaten during his escort to the prison’s infirmary.

(Doc. 282-1, pp. 36–37.) Specifically, according to Stevenson, after he was taken outside to the

front of D-2, Defendant Catanzariti and other officers attacked him with the butt end of a

pepperball gun, kicked him, and punched him using handcuffs as brass knuckles. (Doc. 240-3,

pp. 11–12.) While this attack against Plaintiff Stevenson occurred, other officers allegedly

watched without intervening. (Id. at p. 14.) One of the inmates who saw the attack against Plaintiff

Jackson outside of D-2 also testified that he saw officers attack Plaintiff Stevenson in this same

area. (Doc. 263, pp. 12–13.) Other inmates described seeing officers beating handcuffed inmates

outside of the dorm. (See Doc. 282-1, pp. 38–39.) Defendant Eason, however, disputes being

outside of D-2 when these alleged events took place. (Doc. 282-1, p. 37.) Nonetheless, it is

undisputed that Plaintiff Stevenson was escorted out of the dorm approximately one minute before

Defendant Eason took Plaintiff Jackson outside. (Id. at p. 40; doc. 291, p. 149; see also CAM 8 at

22:13:21–22:13:40 (Stevenson being escorted toward D-2’s sally port), 22:14:08–22:14:29

(Jackson being escorted toward D-2’s sally port).) Both Plaintiffs were injured and bleeding prior

to being taken out of D-2, and the medical evidence of record indicates severe injuries to their head

and facial areas but not elsewhere. (Doc. 282-1, pp. 32–33, 34, 41.)

       B.      Defendant Derius Attical

       Against Defendant Attical, Plaintiffs assert claims regarding his alleged: (1) failure to

intervene in Plaintiff Stevenson’s dorm altercations with officers, (2) use of excessive force against




                                                 15
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 16 of 79




Plaintiffs in the dorm, (3) failure to intervene in the events which took place during Plaintiffs’

escort from the dorm, and (4) use of excessive force during Plaintiffs’ escort from the dorm.

(See Doc. 278, pp. 1–2, 14–22; see also doc. 278-1, pp. 4–11.)

                (1)      Events in the D-2 Dormitory

        Prior to the start of the disturbance, when officers were searching for contraband in D-2,

Defendant Attical, seen on video wearing a wool cap, was walking around on the bottom range as

inmates milled about. (HHV at 10:57:04–10:58:01PM; doc. 214, p. 11.) Defendant Attical circled

the bottom range, checking cell doors, before disappearing from the view of any camera. (CAM 9

at 22:03:40–22:04:47; doc. 293, p. 6.) The disturbance broke out two minutes and thirty-six

seconds later, with Defendant Attical’s precise whereabouts unknown. (Doc. 238, pp. 4–5;

doc. 293, p. 6; HHV at 11:00:57PM.) Shortly after it began, however, Defendant Attical was

struck with pepper spray in his eyes as he subdued an inmate on the upper level of the dorm.

(Doc. 214, p. 22.) Defendant Attical testified that an officer came to assist him with handcuffing

the inmate and then walked him to the control booth so he could wash his eyes out. (Id.) It is

unclear precisely when this occurred. 11 (Doc. 278-1, pp. 3–4.)

        Almost three minutes after the disturbance began, and approximately fifty seconds after

Catanzariti is shown striking Plaintiff Stevenson, Defendant Attical can be seen on the upper range

approaching the area where Catanzariti and other officers were still involved with Stevenson.

(HHV at 11:03:37–11:03:40PM; doc. 238, p. 5.) Defendant Attical is shown approaching this area



11
    Catanzariti claims he was the officer who assisted Defendant Attical with handcuffing the inmate while
Attical was blinded by pepper spray. (Doc. 274, pp. 30, 52.) Catanzariti testified as follows: “[Attical] said
he couldn’t get [the inmate] handcuffed, he couldn’t see. So I told him I could see. . . . We got [the inmate]
handcuffed, got him up. Walked downstairs. I met up with another officer downstairs. Attical went in the
control room to wash his face off because he had pepper spray in his eyes. I walked [the inmate] to medical
. . . and c[a]me back.” (Id. at p. 30.) According to Catanzariti, this event took place after his altercation
with Plaintiff Stevenson. (Id. at p. 52.)


                                                     16
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 17 of 79




from the far side of D-2, away from where Plaintiffs’ altercations occurred. (Id.) But the handheld

video quickly cuts away before he reaches the group, (HHV at 11:03:40PM), and neither party

points to any other video evidence of record showing Defendant Attical’s whereabouts during the

time period surrounding the disturbance and Plaintiffs’ in-dorm use of force claims, (see docs. 238,

278, 278-1, 293).

        However, Plaintiffs assert that several eyewitnesses have placed Defendant Attical near the

area where Catanzariti attacked Stevenson during this time period. (Doc. 278-1, pp. 5–8.) For

example, Plaintiffs point to the testimony of Defendant Caleb Harrison who testified that Attical

was with him on the upper range when the disturbance began and when Harrison tackled Plaintiff

Stevenson. (Doc. 268, pp. 5, 19.) In addition, Officer Hill stated that she believed she saw

Defendant Attical on the upper range standing near where Catanzariti was engaged with an inmate,

but she could not be sure based on her memory. (Doc. 267, pp. 12, 41.) Several inmates—Briscoe,

Satterfield, Neely, and Thomas—also testified that Defendant Attical was involved in Plaintiff

Stevenson’s altercation with Catanzariti in some fashion, including using force against and

restraining Stevenson. (See Doc. 278-1, pp. 5–6.) Defendant Attical disputes the weight of this

eyewitness testimony and contends that, for various reasons, it fails to show he was ever in a

position to intervene on Plaintiff Stevenson’s behalf or to use excessive force against him while

inside D-2. 12 (Doc. 293, pp. 4–10.)

                 (2)     Escort Outside of the D-2 Dormitory

        After the disturbance, both Plaintiffs were escorted to the Smith State infirmary to receive

treatment. (Doc. 278-1, p. 9.) As has been noted, Plaintiffs allege that officers beat them while



12
  With respect to Plaintiff Jackson, it is undisputed that Defendant Attical was not in a position to intervene
when Catanzariti struck at him with an object, (doc. 278-1, pp. 7–8); however, Plaintiffs baldly assert that
inmate Shawn Thomas identified Attical as an officer who used excess force against Jackson, (id. at p. 6).


                                                      17
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 18 of 79




they were escorted from the dormitory. (Id.) Defendant Attical did not escort either Plaintiff from

D-2, but the surveillance camera shows him quickly following Defendants Eason and Catanzariti

as they escorted Jackson and another inmate outside. (CAM 8 at 22:14:30–22:14:33; doc. 278,

p. 19.) However, per the evidence submitted by the parties, no witness specifically identified

Defendant Attical as an individual who used force against Plaintiffs while they were being escorted

to the infirmary. (Doc. 238, p. 9; see docs. 278, 278-1.) The surveillance video only shows

Defendant Attical running in the direction of an off-camera exit, and no witnesses placed him

outside of D-2 at this time. (Doc. 293, pp. 12–13.)

       C.      Defendant Sherry Ritchie

       Against Defendant Ritchie, Plaintiffs are pursuing a single claim: failure to intervene on

Plaintiff Stevenson’s behalf during his dorm altercation with officers. (See Doc. 277-1, pp. 7–10,

13, 15–16; see also doc. 277, pp. 1–2.)

       Prior to the disturbance, Defendant Ritchie stood in the doorway of D-234 to prevent

inmates from entering the cell while Catanzariti searched for contraband. (Doc. 277-1, p. 2.) After

completing his search, Catanzariti walked out of the cell carrying tools and seized contraband

whereupon he encountered Plaintiff Jackson, a resident of D-234. (Id. at pp. 3–4.) An altercation

over the contraband ensued between Catanzariti and Plaintiff Jackson, causing Defendant Ritchie

to radio for officer backup. (Id. at pp. 4–6.) Catanzariti struck Plaintiff Jackson, and thereafter

the disturbance in D-2 broke out. (Id.)

       Defendant Ritchie claims to have only witnessed this single, initial strike by Catanzariti

against Jackson, but Plaintiffs contend that Ritchie also observed Catanzariti striking a compliant,

handcuffed Plaintiff Stevenson after the inciting incident. (Id. at pp. 8–10.) Plaintiff Stevenson

observed Defendant Ritchie on the upper range while Catanzariti beat him, but he also described




                                                18
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 19 of 79




how “she had backed away” as the strikes occurred. (Doc. 240-3, p. 11.) On the handheld video,

Defendant Ritchie can be seen walking toward and then standing next to Catanzariti as he struck

Plaintiff Stevenson, who was lying prone on the ground and restrained by officers. (HHV at

11:02:48–11:02:53PM; doc. 214, pp. 17–18; doc. 213, pp. 15, 19.) She appears to then walk away

from the group of officers surrounding Plaintiff Stevenson. (HHV at 11:03:14PM; doc. 260,

pp. 8–9.) Approximately thirty-seconds later, Defendant Ritchie was still on the upper range

looking toward the group of officers surrounding Plaintiff Stevenson, but by this time, she had

moved slightly further down the range in the direction of the stairs. (HHV at 11:03:47PM;

doc. 260, pp. 6, 9.) Defendant Ritchie remained on the upper range until she descended the stairs

and left the dorm almost two and a half minutes later. (HHV at 11:06:04PM; CAM 8 at 22:12:27–

22:12:58; doc. 260, p. 7.)

       As a matter of background, Defendant Ritchie notes she is 5’2” in height. (Doc. 277-1,

p. 13.) In the Fall of 2010, she had surgery to repair meniscus tears and remove arthritic build up

in both knees and was out of work for a period of time. (Id.) Defendant Ritchie returned to work

that October, but she was still recovering as of December 31, 2010, the night in question. (Id.)

                                   STANDARD OF REVIEW

       Summary judgment “shall” be granted if “the movant shows that there is no genuine

dispute as to any material fact and that the movant is entitled to judgment as a matter of law.” Fed.

R. Civ. P. 56(a). A fact is “material” if it “might affect the outcome of the suit under the governing

law.” FindWhat Inv’r Grp. v. FindWhat.com, 658 F.3d 1282, 1307 (11th Cir. 2011) (quoting

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). A dispute is “genuine” if the

“evidence is such that a reasonable jury could return a verdict for the nonmoving party.” Id.




                                                 19
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 20 of 79




       The moving party bears the burden of establishing that there is no genuine dispute as to

any material fact and that it is entitled to judgment as a matter of law. See Williamson Oil Co. v.

Philip Morris USA, 346 F.3d 1287, 1298 (11th Cir. 2003). Specifically, the moving party must

identify the portions of the record which establish that “there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Moton v. Cowart, 631

F.3d 1337, 1341 (11th Cir. 2011) (quoting Fed. R. Civ. P. 56(a)). When the nonmoving party

would have the burden of proof at trial, the moving party may discharge his burden by showing

that the record lacks evidence to support the nonmoving party’s case or that the nonmoving party

would be unable to prove his case at trial. See id. (citing Celotex Corp. v. Catrett, 477 U.S. 317,

322–23 (1986)). If the moving party discharges this burden, the burden shifts to the nonmovant

to go beyond the pleadings and present affirmative evidence to show that a genuine issue of fact

does exist. Anderson, 477 U.S. at 257.

       In determining whether a summary judgment motion should be granted, a court must view

the record and all reasonable inferences that can be drawn from the record in the light most

favorable to the nonmoving party. Peek-A-Boo Lounge of Bradenton, Inc. v. Manatee County,

630 F.3d 1346, 1353 (11th Cir. 2011) (citing Rodriguez v. Sec’y for Dep’t of Corr., 508 F.3d 611,

616 (11th Cir. 2007)). However, “facts must be viewed in the light most favorable to the non-

moving party only if there is a ‘genuine’ dispute as to those facts.” Scott v. Harris, 550 U.S. 372,

380 (2007) (quoting Fed. R. Civ. P. 56(c)). “[T]he mere existence of some alleged factual dispute

between the parties will not defeat an otherwise properly supported motion for summary judgment;

the requirement is that there be no genuine issue of material fact.” Id. (emphasis and citation

omitted).




                                                20
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 21 of 79




                                            DISCUSSION

        Plaintiffs’ excessive force and failure to intervene claims, as presented on Defendants’

Motions for Summary Judgment, require analysis of the Eighth Amendment’s proscription against

cruel and unusual punishment.

        That proscription governs the amount of force that prison officials are entitled to use

against inmates. Campbell v. Sikes, 169 F.3d 1353, 1374 (11th Cir. 1999). An excessive force

claim has two requisite parts: an objective and a subjective component. Sims v. Mashburn, 25

F.3d 980, 983 (11th Cir. 1994). To satisfy the objective component, the inmate must show that

the prison official’s conduct was “sufficiently serious.” Farmer v. Brennan, 511 U.S. 825, 834

(1994) (quoting Wilson v. Seiter, 501 U.S. 294, 298 (1991)). The subjective component requires

a showing that the official acted with a “sufficiently culpable state of mind.” Sims, 25 F.3d at 983

(citing Hudson v. McMillan, 503 U.S. 1, 8 (1992)). “The core judicial inquiry . . . is whether force

was applied in a good-faith effort to maintain or restore discipline, or maliciously and sadistically

to cause harm.” Wilkins v. Gaddy, 559 U.S. 34, 37, 39 (2010) (citation and internal quotations

omitted) (holding that there is no “significant” or “non-de minimis” threshold injury requirement).

        In order to determine whether the official used force maliciously and sadistically to cause

harm or in good faith to restore order, courts consider the following factors: (1) the need for the

exercise of force; (2) the relationship between the need for force and the amount of force applied;

(3) the extent of injury inflicted on the inmate; (4) the extent of the threat to the safety of staff and

other inmates; (5) and any efforts taken to temper the severity of a forceful response. Fennell v.

Gilstrap, 559 F.3d 1212, 1217 (11th Cir. 2009)). These factors are viewed from the correctional

officer’s point of view based on the facts known at the relevant time, and courts are to “give a wide

range of deference to prison officials acting to preserve discipline and security.” Id. Deference,




                                                   21
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 22 of 79




however, “is not absolute and does not insulate from review actions taken in bad faith or for no

legitimate purpose.” Id. (citing Ort v. White, 813 F.2d 318, 322 (11th Cir. 1987)). “Once a

prisoner has stopped resisting there is no longer a need for force, so the use of force thereafter is”

unconstitutionally excessive. Danley v. Allen, 540 F.3d 1298, 1309 (11th Cir. 2008).

       The Eighth Amendment also “imposes a duty on prison officials to take reasonable

measures to guarantee the safety of the inmates.” Caldwell v. Warden, FCI Talladega, 748 F.3d

1090, 1099–1100 (11th Cir. 2014) (quoting Farmer, 511 U.S. at 832). Pursuant to this duty, “an

officer can be liable for failing to intervene when another officer uses excessive force.” Priester

v. City of Riviera Beach, 208 F.3d 919, 924 (11th Cir. 2000) (“If a police officer, whether

supervisory or not, fails or refuses to intervene when a constitutional violation such as an

unprovoked beating takes place in his presence, the officer is directly liable[.]” (alteration in

original) (quoting Ensley v. Soper, 142 F.3d 1402, 1407–08 (11th Cir. 1998))); see also Skrtich v.

Thornton, 280 F.3d 1295, 1301 (11th Cir. 2002). “Even if an officer personally did not use

excessive force, an officer who is present at the scene can be alternatively liable for failing to take

‘reasonable steps to protect the victim of another officer’s use of excessive force.’” Johnson v.

White, 725 F. App’x 868, 878 (11th Cir. 2018) (per curiam) (quoting Hadley v. Gutierrez, 526

F.3d 1324, 1330–31 (11th Cir. 2008)).

       “This liability, however, only arises when the officer is in a position to intervene and fails

to do so.” Priester, 208 F.3d at 924. A successful claim requires “facts showing the necessity or

real opportunity for the defendant-officers to intervene in a fellow officer’s unlawful conduct.”

Keating v. City of Miami, 598 F.3d 753, 764 (11th Cir. 2010). When events occur so quickly that

the officer cannot intervene in the use of excessive force, he or she is not liable for another’s

constitutional violation. Fils v. City of Aventura, 647 F.3d 1272, 1290 n.21 (11th Cir. 2011) (citing




                                                  22
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 23 of 79




Brown v. City of Huntsville, 608 F.3d 724, 740 n.25 (11th Cir. 2010)). Moreover, if there is no

underlying use of excessive force, there is no obligation to intervene. Crenshaw v. Lister, 556

F.3d 1283, 1294 (11th Cir. 2009).

I.      Defendant Eason’s Motion for Summary Judgment (Doc. 233)

        At summary judgment, Plaintiffs maintain the following claims against Defendant Eason:

(1) failure to intervene in both Plaintiffs’ dorm altercations with officers, (2) failure to intervene

in the events that took place during both Plaintiffs’ escorts outside of D-2, and (3) use of excessive

force against Plaintiff Jackson during his escort outside. 13 (See Doc. 282-1, pp. 4–9, 20–23, 27–

32, 35–40; see also doc. 282, pp. 14–19.) Defendant Eason seeks summary judgment as to all

claims brought against him by Plaintiffs. 14 (Doc. 233.)


13
   In their Amended Complaint, Plaintiffs allege a “Supervisory Liability” count against Defendant Eason.
(Doc. 24, pp. 19–20.) In responding to Defendant Eason’s Motion for Summary Judgment, however,
Plaintiffs do not press this claim as an independent basis of liability for Eason. (See Doc. 282.) To the
extent Plaintiffs seek to hold Defendant Eason independently liable based solely on his supervisory
capacity, such claim fails as a matter of law because respondeat superior liability is not available in Section
1983 cases. Bryant v. Jones, 575 F.3d 1281, 1299 (11th Cir. 2009); Braddy v. Fla. Dep’t of Labor & Emp’t
Sec., 133 F.3d 797, 801 (11th Cir. 1998). A supervisor may be liable only through personal participation
in the alleged constitutional violation or when there is a causal connection between the supervisor’s conduct
and the alleged violations. Braddy, 133 F.2d at 802; see also Barr v. Gee, 437 F. App’x 865, 875 (11th Cir.
2011) (per curiam) (setting forth the avenues to state a viable claim against a supervisory defendant). Here,
Plaintiffs have alleged, and presented evidence of, Defendant Eason’s direct involvement (or nonfeasance)
in their excessive force and failure to intervene claims brought against him. Plaintiffs’ supervisory
allegations are redundant of these claims. (See Doc. 24, pp. 19–20.) Thus, rather than seeking to hold
Defendant Eason liable based on his supervisory status, Plaintiffs have asserted direct claims against him.
See Byrd v. Clark, 783 F.2d 1002, 1007 (11th Cir. 1986) (“If a police officer, whether supervisory or not,
fails or refuses to intervene when a constitutional violation such as an unprovoked beating takes place in
his presence, the officer is directly liable under Section 1983.” (emphasis added)); Frederick v. Silva, No.
18-80483, 2018 U.S. Dist. LEXIS 138940, at *38–41 (S.D. Fla. Aug. 15, 2018) (discussing supervisory
liability in the context of failure to intervene and excessive force claims). As such, the Court GRANTS
Defendant Eason’s Motion for Summary Judgment as to the supervisory liability claim against him,
(doc. 233), and DISMISSES that claim with regard to Defendant Eason.
14
    As noted, in their First Amended Complaint, Plaintiffs set forth their excessive force and failure to
intervene allegations and claims generally against all Defendants in this action. (See Doc. 24, pp. 5–19.)
Following discovery, however, Plaintiffs have indicated the undisputed facts show that Defendant Eason
did not use excessive force in D-2 against either Plaintiff, did not use excessive force against Plaintiff
Stevenson during his infirmary escort, and did not commit any alleged constitutional violations against
either Plaintiff in the infirmary. (See Doc. 282-1, pp. 4–5, 35–46; see also doc. 282, pp. 14–19.) Because


                                                      23
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 24 of 79




        A.      The Parties’ Arguments

        As to Plaintiff Stevenson’s failure to intervene claims against him, Defendant Eason argues

not only that there is insufficient evidence to support those claims, but also that the undisputed

evidence actually proves he was not in a position to intervene during the events that took place in

the D-2 dorm or in the events that took place when Stevenson was taken outside of the dorm and

was being escorted to the infirmary. (Doc. 233-1, pp. 14–18, 22–24.)

        As to Plaintiff Jackson’s in-dorm failure to intervene claim, Defendant Eason argues that

it fails because Jackson neglected to exhaust his prison administrative remedies as to the claim.

Eason also argues there is no evidence supporting Jackson’s in-dorm failure to intervene claim,

and furthermore, that the video evidence insulates Eason from liability on this claim because it

shows there was insufficient time for him to intervene. (Id. at pp. 19–21.) On Plaintiff Jackson’s

claims regarding the infirmary escort, Defendant Eason argues there is no evidence of his

involvement in or knowledge of the events that took place outside of D-2, nor is there any evidence

of injury consistent with Jackson’s escort allegations, so both the excessive force and failure to

intervene claims in this regard fail. (Id. at pp. 22–24.) Lastly, Defendant Eason asserts qualified

immunity with respect to all claims. (Id. at pp. 24–25.)

        In response, Plaintiffs contend the evidence shows Defendant Eason had the opportunity

to intervene in Defendant Catanzariti’s attacks on them in the dorm. (Doc. 282, pp. 2–3.)

Additionally, Plaintiffs aver that evidence “places Eason at the scene outside when multiple

officers continued to brutalize nonresistant Jackson and Stevenson.” (Id.) Defendant Eason’s

contention that he was not in a position to intervene in Stevenson’s dorm altercation, Plaintiff



the parties agree Defendant Eason did not act unlawfully in these situations, the Court GRANTS his Motion
for Summary Judgment as to these excessive force and failure to intervene claims, (doc. 233), and
DISMISSES those claims with regard to Defendant Eason. Fed. R. Civ. P. 56(a).


                                                   24
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 25 of 79




Stevenson further argues, “rests largely on an elaborate but materially inaccurate interpretation of

the video evidence.” (Id. at pp. 15–16.) As for Plaintiff Jackson, he argues Defendant Eason

should have intervened in the force used against him in the dorm because he had “already observed

[Catanzariti’s] wrath on Stevenson moments earlier.” (Id.) In sum, Plaintiffs contend that a

rational jury could find Defendant Eason knew what was happening to both of them in the dorm

and outside, that he participated, and that he disregarded opportunities during which he could have

reasonably intervened. (Id. at pp. 17–19.) Lastly, Plaintiffs argue that, because “precedent clearly

establishe[s] that government officials may not use gratuitous force against a prisoner who has

been already subdued,” Defendant Eason is not entitled to qualified immunity. (Id. at pp. 20–22.)

        In reply, Defendant Eason contends Plaintiff Stevenson’s deposition testimony, in

combination with the video evidence, shows he could not have intervened in the dorm altercation

between Stevenson and Catanzariti because he was not in the area at that time. (Doc. 294, pp. 6–

7, 15–20.) Defendant Eason also emphasizes that, as a matter of law, he cannot be held liable for

not intervening in Catanzariti’s single strike against Plaintiff Jackson on the upper range of D-2

(while he was restrained and about to be taken downstairs in the dorm). (Id. at pp. 8–10.) As for

the events which took place outside of D-2, Defendant Eason argues there is no credible evidence

that Plaintiffs were attacked in the manner asserted and, further, that their claims are belied by the

medical evidence of record. (Doc. 294, pp. 2–6, 11–15, 20.) Thus, Defendant Eason concludes,

Plaintiffs cannot successfully maintain their claims against him regarding the events outside D-2.

(Id.)

        B.     Failure to Intervene During Plaintiffs’ Dorm Altercations

        On a failure to intervene claim, the “plaintiff has the burden to demonstrate that the

defendant was in a position to intervene but failed to do so.” Ledlow v. Givens, 500 F. App’x 910,




                                                 25
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 26 of 79




914 (11th Cir. 2012) (per curiam) (citing Hadley, 526 F.3d at 1330–31). To meet this burden, the

plaintiff must adduce “facts showing the necessity or real opportunity for the defendant-officers to

intervene in a fellow officer’s unlawful conduct.” Keating, 598 F.3d at 764.

               (1)     Plaintiff Stevenson

       To show Defendant Eason was in a position to intervene in Catanzariti’s attack on him

while he was handcuffed and prone, Plaintiff Stevenson points to several pieces of evidence that

indicate Eason was near, if not directly involved in, this event: Officers Hill and Attical’s

testimony that Defendant Eason was around, or walking away from, the area where Catanzariti

repeatedly struck Stevenson; Officer Davis’s testimony that Defendant Eason was walking toward

the area where Catanzariti repeatedly struck Stevenson prior to what is shown on the handheld

video; inmate Satterfield’s testimony that he witnessed Defendant Eason restraining Stevenson

during the subject attack and that the handheld video does not show that attack that he observed;

and Officer Harvey’s testimony, along with her handheld video remark, that someone had a

hammer when Defendant Eason was on the upper range.

       Against this evidence, Defendant Eason argues that the surveillance videos undisputedly

show he was on the lower range when Catanzariti repeatedly struck Stevenson as shown on the

handheld video and that, per Eason’s characterization of Stevenson’s own testimony, this single

sequence of strikes is the only in-dorm use of force against him at issue in this case. Moreover,

Eason argues that, prior to the handheld video sequence, he assisted with handcuffing Plaintiff

Jackson and was thus not near any possible use of force against Plaintiff Stevenson.

       In reviewing the evidence adduced by the parties, the Court finds that undisputed evidence

shows Defendant Eason was not in a position to intervene in the strikes Catanzariti made against

Plaintiff Stevenson. Plaintiffs admit that Defendant Eason was downstairs at the time Catanzariti




                                                26
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 27 of 79




is shown on the handheld video striking Plaintiff Stevenson. (Doc. 282-1, pp. 12–17.) Instead,

Plaintiffs contend the handheld video does not capture all of Catanzariti’s use of force against

Stevenson and that Defendant Eason was in a position to intervene in additional force not captured

by the handheld video. (Id.; doc. 282, pp. 15–16.)

        Plaintiff Stevenson’s best evidence in attempting to create a genuine dispute on this point

is testimony by inmate Satterfield. 15 At his deposition, Mr. Satterfield testified that he witnessed

Defendant Eason holding down Stevenson while Catanzariti hit him with a hammer and that the

handheld video depicts an incident that occurred after what he witnessed. (Doc. 262, pp. 15–18.)

However, Mr. Satterfield later qualified this testimony, stating that he was not sure who all was

around Stevenson at the time he described and that he could only positively identify Catanzariti

and an Officer Green. (Id. at pp. 25, 28–29.) More importantly, during the time leading up to the

handheld video sequence, the surveillance video shows Defendant Eason going up the stairs and

assisting with Plaintiff Jackson, away from where Plaintiff Stevenson was on the upper ramp.

(CAM 8 at 22:07:43–22:07:52; CAM 9 22:07:46–22:09:01; see also doc. 270, p. 25; doc. 259-2,

p. 5.) Because the video evidence contradicts Mr. Satterfield’s admittedly uncertain testimony

about Defendant Eason’s whereabouts and actions, the Court finds it insufficient to create a

genuine factual dispute. See Scott, 550 U.S. at 378–81 (instructing courts to view the facts as

depicted by authentic video evidence when it clearly discredits contrary testimony); Morton v.

Kirkwood, 707 F.3d 1276, 1284 (11th Cir. 2013) (“[W]here an accurate video recording

completely and clearly contradicts a party’s testimony, that testimony becomes incredible.”).




15
   To be sure, Plaintiff Stevenson also avers that Catanzariti’s strikes against him captured by handheld
video are not the only strikes Catanzariti made. (Doc. 259-2, p. 4.) Although Plaintiff Stevenson identified
several officers who were around him at this time, he did not identify Defendant Eason. (Id. at pp. 3–4.)


                                                    27
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 28 of 79




        A close study of the surveillance video definitively shows that Defendant Eason remained

in this separate location on the upper ramp, assisting with Plaintiff Jackson, until he returned

downstairs fifteen seconds before the attack shown on the handheld video:

        •   Defendant Eason reaches the top of the stairs. (CAM 8 at 22:07:54.)
        •   After pausing at the top of the stairs and looking to his right, he steps to the left
            on the upper ramp and bends down, taking a knee on the ground immediately
            to the left of the stairs. (Id. at 22:07:54–22:07:58.)
        •   He remains in this position for fifty-five seconds until standing up. (Id. at
            22:07:58–22:08:53.)
        •   After standing up, he briefly looks down at Plaintiff Jackson and around at other
            officers in the immediate vicinity. (Id. at 22:08:53–22:08:59.)
        •   Defendant Eason then steps to the right and makes his way back down the stairs
            to the bottom level. (Id. at 22:08:59–22:09:10.)
        •   Finally, he walks right, toward the exit of the dorm and out of screenshot. (Id.
            at 22:09:10–22:09:18.)

When asked during his deposition to review video footage from surveillance camera nine, Plaintiff

Stevenson identified himself during this time period in a location further down the upper ramp,

much to the left of where Defendant Eason was assisting with Plaintiff Jackson near the top of the

stairs. (Doc. 259-2, p. 5; see CAM 9 at 22:07:41–22:08:51.) Thus, even assuming Catanzariti also

struck Plaintiff Stevenson earlier than what is shown on the handheld video, Defendant Eason was

not in a position to intervene in that use of force.

        Furthermore, Plaintiff Stevenson presents no competent testimony that tends to disprove

that Defendant Eason assisted with Plaintiff Jackson at this time, much less does he present

evidence that would place Eason in a position to intervene in Catanzariti’s use of force against

Stevenson in D-2. In addition to inmate Satterfield’s discredited “identification” of Defendant

Eason as an officer who restrained Stevenson while Catanzariti repeatedly struck him, Plaintiffs

argue other eyewitness testimony places Eason near Stevenson, but that testimony is either

blatantly contradicted by the record or not probative of whether Eason was actually in a position

to intervene on Stevenson’s behalf during the time in question. For example, Plaintiffs cite Officer


                                                   28
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 29 of 79




Henderson’s testimony that Defendant Eason assisted with handcuffing Stevenson, (doc. 266,

pp. 5, 14), however Henderson later clarified his testimony, stating he was altogether unsure and

that Defendant Eason may have assisted with Jackson’s handcuffing, (id. at pp. 6, 25, 28).

Moreover, Officer Henderson’s testimony is contradicted by the video evidence and the

contemporaneous incident report he made, which indicates that Defendant Eason assisted him with

Plaintiff Jackson, (id. at p. 6). While Officer Henderson stated Defendant Eason was part of the

group of officers shown at 11:02:53PM on the handheld video, (id. at p. 15), it is undisputed that

Defendant Eason was not on the upper range at this point in time, (doc. 282-1, pp. 12–13). 16

       Plaintiffs cite other deposition testimony in an attempt to show that Defendant Eason was

in a position to intervene in Catanzariti’s strikes against Stevenson, but this testimony also fails to

create a genuine factual dispute. (See, e.g., Doc. 282-1, pp. 21–22.) For instance, inmates Briscoe

and Cratic identified Defendant Eason on the upper range at 11:07:28PM on the handheld video,

(see doc. 291, pp. 89–91), however this specific portion of video shows events that occurred quite

some time after Catanzariti’s strikes against Plaintiff Stevenson. Similarly, while Officers Hill

and Attical testified to seeing Defendant Eason on the upper range, neither officer identified him

near Catanzariti during the time in question. (See id. at pp. 87–88, 104–05.) Lastly, although

Officer Harvey testified to seeing and remarking about someone with a hammer on the upper range

around the 11:01:48PM mark on the handheld video, (doc. 213, pp. 13–14), this timestamp

corresponds to when Defendant Eason was assisting with Plaintiff Jackson on the upper range, to

left of the stairs (22:08:15 on surveillance camera eight). From this location, while busy attending


16
   This handheld video timestamp corresponds to 22:09:20 on the surveillance cameras. At 22:09:16 on
surveillance camera eight, Defendant Eason is shown walking on the bottom level toward the exit of D-2
and eventually offscreen. (CAM 8 at 22:09:10–22:09:19.) He does not return until approximately sixteen
seconds later. (CAM 8 at 22:09:35.) Thus, the video evidence establishes that Defendant Eason could not
have been in the group of officers shown on the upper ramp at 11:02:53PM on the handheld video, as
Henderson mistakenly recalled at his deposition.


                                                  29
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 30 of 79




to Plaintiff Jackson on the ground, Defendant Eason could have hardly been aware of what was

taking place in the huddled group of officers several yards down the upper ramp, much less could

he have been in a position to intervene.

        Therefore, despite Plaintiffs’ attempts, there is no genuine dispute about Defendant Eason’s

whereabouts during Catanzariti’s strikes against Stevenson on the upper range of D-2. In the face

of some unclear testimony of record, the video evidence definitively shows that Defendant Eason

was not in a position to intervene in this attack. In other words, drawing all reasonable inferences

in his favor, Plaintiff Stevenson fails to produce enough evidence for a jury to find that Defendant

Eason was in a position to intervene while Catanzariti struck him on D-2’s upper range.

Accordingly, the Court GRANTS Defendant Eason summary judgment as to Plaintiff Stevenson’s

failure to intervene claim regarding Catanzariti’s actions against Stevenson in the D-2 dorm.

                (2)     Plaintiff Jackson

        Plaintiff Jackson’s in-dorm failure to intervene claim concerns Defendant Eason’s inaction

when Catanzariti made a single strike at Jackson on the upper range, near the top of the stairs,

while Eason was holding Jackson (who was handcuffed) prior to escorting him down the stairs to

head to the infirmary. As to this failure to intervene claim, there is no genuine dispute of material

fact. (Doc. 294, pp. 9–10.)

        Defendant Eason admits he was holding Plaintiff Jackson when Catanzariti made the

striking motion at Jackson with an object in hand. (Id.; see also HHV at 11:07:28–11:07:34PM.)

Although the parties dispute whether Catanzariti actually made contact with Plaintiff Jackson with

this single jab, Defendant Eason argues that, even if contact was made, he cannot be held liable as

a matter of law for failing to prevent a single strike. 17 (Doc. 294, pp. 9–10.) Plaintiffs contend


17
  Defendant Eason also contends Plaintiff Jackson did not properly exhaust this claim because, within his
inmate grievance, he failed to make a specific allegation concerning his restraint in D-2. (Doc. 233-1,


                                                   30
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 31 of 79




Defendant Eason should have known to intervene prior to the strike because he had “already

observed [Catanzariti’s] wrath on Stevenson moments earlier.” (Doc. 282, p. 16.)

        For a failure to intervene claim to survive summary judgment, the plaintiff must show that

the defendant-officer was in a position to intervene in another officer’s excessive force and had

time to do so. See Riley v. Newton, 94 F.3d 632, 635 (11th Cir. 1996). Absent some indication

another officer is about to use excessive force, there is no duty to intervene in an unexpected, rapid

use of force, because there is no reasonable opportunity for intervention. Id. Thus, when events

occur so quickly that the defendant-officer cannot intervene, he or she is not liable for the other’s

constitutional violation. Fils, 647 F.3d at 1290 n.21; see also Hadley, 526 F.3d at 1331 (no duty

to intervene where the other officer gratuitously punched the plaintiff once in the stomach when

no evidence existed from which a reasonable jury could find that the defendant-officer could have

anticipated and then stopped the other officer from delivering the single punch); Baltimore v. City

of Albany, 183 F. App’x 891, 896–97 (11th Cir. 2006) (per curiam) (single surprise blow with




pp. 19–20.) In reviewing Plaintiff Jackson’s grievance, (doc. 233-2, p. 83), however, the Court finds that
this claim was properly exhausted. “A grievance is sufficient when it complies with the prison’s grievance
procedures and provides notice of a problem such that prison officials have an opportunity to address it
internally.” Slaughter v. Bryson, No. 5:15-CV-90, 2018 WL 1400976, at *9 (S.D. Ga. Mar. 20, 2018)
(citations omitted) (citing Jones v. Bock, 549 U.S. 199, 204, 218 (2007); Toenniges v. Ga. Dep’t of Corr.,
600 F. App’x 645, 649 (11th Cir. 2015) (per curaim)). Here, Plaintiff Jackson’s grievance complained of
“8th Amendment” violations occurring on “12/31/10,” (doc. 233-2, p. 83), which Jackson described the
following way: “After regaining control of a disturbance in D-2 dorm . . . while handcuffed and subdued
with mace, Sgt. Joseph Catanza[riti] and escort off[icers] repeatedly beat me in the head, face, and body
with a hammer and blackjack all the way to the medical door. Inside medical waiting room officers
continued to punch and kick me . . . .” (Id. (emphases added) (ellipses in original).) Contrary to Defendant
Eason’s argument, these allegations fairly apprised Smith State officials of Plaintiff Jackson’s claims that
officers used excessive force against him while escorting him from D-2 to medical; his grievance is not so
limited as to exclude the possibility that “all the way to the medical door” encompassed actions taken
against him from the moment of restraint in D-2. Furthermore, a failure to intervene claim is “closely
linked” to an excessive force claim. Hall v. McGhee, No. 17-12008, 2019 WL 1057404, at *2 (11th Cir.
Mar. 6, 2019) (citation omitted). As such, the Court finds Plaintiff Jackson exhausted his in-dorm failure
to intervene claim against Defendant Eason when he grieved about Eighth Amendment violations and
excessive force occurring against him during his escort from D-2.


                                                    31
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 32 of 79




flashlight by fellow officer does not allow for time to intervene); Riley, 94 F.3d at 635 (single,

unexpected gunshot by fellow officer does not allow for time to intervene).

        Plaintiff Jackson’s claim that Defendant Eason failed to intervene on his behalf in the D-2

dorm concerns a single strike by Defendant Catanzariti. As shown on the handheld video, this

strike occurred in a quick fashion and without any prior physical indication from Catanzariti that

he was about to strike at Jackson’s head with the object in his hand. (HHV at 11:07:28–

11:07:34PM.) Plaintiffs attempt to show Defendant Eason, who held Jackson from behind, should

have known to intervene in this strike because he was there when Catanzariti struck Stevenson

several minutes prior. (Doc. 282, pp. 16, 18.) However, as explained above, the video evidence

and undisputed facts establish that, during this time, Defendant Eason was either preoccupied with

handcuffing Plaintiff Jackson or was not on the upper ramp at all. 18 See Jackson v. Sauls, 206

F.3d 1156, 1174 (11th Cir. 2000) (the plaintiff must produce evidence showing the defendant-




18
    It is true that Defendant Eason is seen walking away from the area where officers were gathered around
Plaintiff Stevenson approximately one minute after that incident, (HHV at 11:03:47–11:04:04PM
(corresponding to CAMS 8 and 9 at 22:10:14–22:10:31); see also doc. 282-1, pp. 29–30; doc. 291, pp. 94–
95), and a reasonable inference from this evidence is that Eason observed Catanzariti kneeling by a
bloodied, restrained Stevenson during the approximately fifteen seconds he was in that area before heading
back downstairs, (CAM 8 at 22:09:55–22:10:39; HHV at 11:04:17PM; doc. 291, pp. 95–96). However,
given that Defendant Eason was preoccupied with Plaintiff Jackson or possibly not even on the upper ramp
during the time in which Catanzariti struck Stevenson, Eason’s brief observation of an injured Stevenson
would not give him reason to believe that Catanzariti had used excessive force against Stevenson, and thus
might do so to another inmate more than three minutes later. Because Defendant Eason was not in a position
to see Catanzariti’s strikes against Stevenson, he would have no basis to conclude that possible hammer
strikes or other excessive force by Catanzariti occasioned Stevenson’s injuries. See Carr v. Tatangelo, 338
F.3d 1259, 1273 n.27 (11th Cir. 2003) (no opportunity to intervene where the defendant-officer “could not
see the rapidly escalating” situation between the plaintiff and fellow officer and never spoke with that
officer prior to use of excessive force); Ensley, 142 F.3d at 1408 (no duty to intervene where the defendant-
officer did not, and could not, observe excessive force while he arrested another person). Simply witnessing
Catanzariti kneeling by an injured, even bloodied Stevenson—without any indication that Catanzariti’s
actions occasioned those injuries—did not thereby provide any plausible warning that Catanzariti would
strike at Plaintiff Jackson with an object more than three minutes later. Lacking knowledge of Catanzariti’s
actions against Plaintiff Stevenson, and without any other indication that Catanzariti was about to make a
single, quick strike against Jackson, Defendant Eason was left without a reasonable opportunity to intervene
on Jackson’s behalf in this instance. In short, he had no reason to anticipate this force being used.


                                                     32
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 33 of 79




officer “had time to prevent” the use of force). Thus, based on the evidence presented by Plaintiffs,

Defendant Eason had no indication that Catanzariti might use excessive force against Jackson

almost four minutes later, and he had no reasonable opportunity to intervene in this single strike

when it occurred. An unforeseen jab does not permit a moment to intervene. Accordingly, the

Court GRANTS Defendant Eason summary judgment as to Plaintiff Jackson’s failure to intervene

claim regarding Catanzariti’s actions against him in the D-2 dorm.

       C.      Failure to Intervene During Plaintiffs’ Escort Outside of D-2

       Plaintiffs’ escort failure to intervene claims concern Defendant Eason’s conduct once he

took Plaintiff Jackson outside of D-2, after Plaintiff Stevenson had already been escorted from the

dorm to the same area. It is undisputed that Defendant Eason escorted Plaintiff Jackson out of the

D-2 dormitory shortly after Plaintiff Stevenson was escorted out by other officers. (See Doc. 291,

pp. 141–142, 153–57.) Whether Plaintiffs were ever subjected to excessive force in Defendant

Eason’s presence while on their escort to the infirmary remains in dispute, however. (Id.)

       Defendant Eason contends both Plaintiffs fail to adduce evidence that he was aware of, or

took part in, the events which took place outside of D-2 and also fail to adduce evidence of injuries

consistent with their allegations. (Doc. 233-1, pp. 22–24.) Plaintiffs argue that Defendant Eason

undisputedly took Jackson outside, while carrying a baton, to the same location where Stevenson

was escorted approximately one minute before, where they allege additional unwarranted force

took place. (Doc. 282, p. 19.) Thus, Plaintiffs assert, there is sufficient evidence for a jury to find

Defendant Eason failed to intervene on their behalf during their escort to the infirmary. (Id.) In

reply, Defendant Eason contends the “absence of medical evidence demonstrating even a single

injury on either Plaintiff[’s] bod[y] conclusively demonstrates that” the alleged beatings outside

D-2 did not occur. (Doc. 294, p. 12.) The medical evidence of record (or lack thereof)




                                                  33
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 34 of 79




notwithstanding, the Court finds genuine disputes of material fact preclude summary judgment as

to these claims.

               (1)     Plaintiff Jackson

       During his deposition, Plaintiff Jackson testified that, once he was taken out of the dorm,

several officers beat him for approximately two minutes all over his whole body, including his

face, while he was restrained. (Doc. 240-4, pp. 15–16, 33.) In a declaration executed pursuant to

28 U.S.C. § 1746 after Defendants began filing motions for summary judgment, however, Jackson

specifically identified Defendant Eason and Catanzariti as two of the officers who took part in the

beating outside of D-2. 19 (Doc. 281, pp. 2–4.) In addition, several inmates testified to witnessing

these events from their cell windows. Inmate Briscoe testified that officers, including those who

took Plaintiff Jackson outside the dorm, beat Jackson while he was handcuffed. (Doc. 191, pp. 7–

8, 13.) Although he could not identify any specific officer due to darkness, Mr. Briscoe did see

Plaintiff Jackson being kicked and struck with batons and fists. (Id.) Inmate Neely testified to

hearing Plaintiff Jackson holler, and then seeing officers, whom he could not specifically identify,

beat Jackson with batons while outside. (Doc. 263, pp. 24–25.) Inmate Cratic testified that officers

kicked Plaintiff Jackson (called “John Doe 1” in Cratic’s deposition) once he was escorted outside

of D-2. (Doc. 190, pp. 32, 36.) Inmate Anderson also testified to seeing officers beat several

handcuffed inmates outside of D-2 on the night in question, but he was not able to identify any

particular officer or inmate. (Doc. 265, pp. 12–13.) Other inmates gave Georgia Bureau of

Investigation (“GBI”) witness statements to the same effect. (See Doc. 259-2, pp. 2–4, 11.)

       Against this robust body of eyewitness testimony, Defendant Eason argues Plaintiff

Jackson’s medical records conclusively establish that this event did not occur. Although these


19
   The Court discusses Plaintiff Jackson’s escort excessive force claim against Defendant Eason, as well
as his declaration, more fully in Section I.C, below.


                                                  34
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 35 of 79




records do not indicate injuries all over Jackson’s body, they are not conclusive on the issue of

whether officers subjected him to excessive force outside of D-2, as he and many other witnesses

described. Defendant Eason relies on a mere four pages of medical evidence, (doc. 233-2, pp. 84–

88), to attempt to contradict Plaintiff Jackson’s account, essentially arguing that if bodily bruising

is not noted on any report, then Jackson could not have been attacked outside of D-2. However,

these four pages are hardly conclusive on the issue.

        The first page, a GDC report, does not indicate any injuries on Plaintiff Jackson other than

to his head area, but it does note “muscle soreness” without attributing that soreness to any specific

location. (Id. at p. 84.) The remaining three pages, from Evans Memorial Hospital, also do not

indicate any injuries to Jackson other than to his head area, but this report concerned the results of

CT head and facial scans. (Id. at pp. 85–88.) Thus, it is not surprising that other bodily injuries

were not indicated. Indeed, given the nature of this report, it has questionable probative value on

whether Jackson suffered injury to areas of his body other than his head. It should also be noted

that Plaintiff Jackson testified he was struck in the head during the events outside of D-2, an

allegation consistent with this medical evidence. 20 Moreover, photographs of Plaintiff Jackson

show knee abrasions that were not noted in either report, (see doc. 282-2, pp. 10–11), and he

testified that he was unable to speak during his examination at the hospital, (doc. 240-4, p. 33).

When viewed in the light most favorable to Plaintiffs, these four pages of medical records are not

enough to discredit Plaintiff Jackson’s testimony and that of several corroborating inmates. 21 See


20
    Plaintiff Jackson acknowledges he also suffered injuries to his head while still inside of D-2, but he
disputes that this was the only damage done to him. (Doc. 282-1, p. 32.) In support of his claim that
officers further harmed him while outside of D-2 and in the presence of Defendant Eason, Plaintiff Jackson
points to the testimonial and video evidence discussed in this section. (See id. at pp. 37–40.)
21
    Defendant Eason cites a number of cases where a prisoner’s claims of excessive force and failure to
intervene were dismissed because of a lack of corroborating medical evidence, but this case is
distinguishable from those. (See Doc. 233-1, pp. 22–24.) For example, in Vicks v. Knight, 380 F. App’x


                                                   35
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 36 of 79




Scott, 550 U.S. at 380 (instructing courts to disregard the non-moving party’s account only when

it is “blatantly contradicted by the record”).

        Defendant Eason also attempts to argue that there is a lack of evidence that he was aware

of these attacks such that he could intervene. However, his own testimony places him outside of

D-2 with Plaintiff Jackson during at least part of the time in question:

        A. All I remember is I know that I was on his left side taking him out. And then
           we met outside the sally port and I had to stop because I couldn’t breathe
           [because of the pepper spray].
           …
        Q. Okay. Sure. At this point you transferred Jackson to another officer?
        A. I wouldn’t say that. I let him go and was standing there and then I was told that
           he was escorted off to medical.
        Q. Did Jackson get escorted immediately or was he standing there with you while
           you were clearing your lungs and eyes?
        A. I turned around after about probably ten seconds and then he was gone. . . .
           [And] I was told he was taken off.

(Doc. 270, p. 11.) When asked, Defendant Eason could not recall who took Plaintiff Jackson or

who told him Jackson was taken. (Id.) This testimony stands diametrically opposed to that of

Jackson and other eye witnesses, creating a genuine dispute of material fact as to whether

Defendant Eason failed to intervene in other officers’ use of excessive force against Plaintiff

Jackson outside D-2. See Fils, 647 F.3d at 1292 & n.24 (affirming denial of summary judgment

in failure to intervene case where there was a “stark contrast” in the parties’ versions of events);


847, 852 (11th Cir. 2010) (per curiam), the Eleventh Circuit Court of Appeals upheld the grant of summary
judgment in part due to a lack of medical evidence showing injury to the prisoner-plaintiff. However, the
medical evidence of record in that case was decidedly more comprehensive and included affidavits from
practitioners who averred conducting multiple bodily examinations that showed no injury whatsoever. Id.
at 849, 852. The court there also noted the only evidence in the plaintiff’s favor was his own affidavit, even
though he claimed there were numerous inmate eye witnesses. Id. at 852. Because he did not present any
affidavits from these witnesses to support his claim and rebut the defendants’ evidence, the court affirmed
summary judgment. Id. Here, of course, there is medical evidence that Plaintiff Jackson suffered severe
head injuries, muscle soreness, and knee abrasions, and there is ample eye-witness testimony corroborating
Jackson’s account. Moreover, the medical evidence relied on by Defendant Eason, unlike that presented in
Vicks, does not confirm Plaintiff Jackson underwent a full-body examination showing no injury at all. As
such, the reasoning and holding in Vicks actually supports the Court’s finding here that genuine disputes
of material fact preclude summary judgment on this claim.


                                                     36
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 37 of 79




see also Velazquez v. City of Hialeah, 484 F.3d 1340, 1342 (11th Cir. 2007) (finding the plaintiff’s

testimony that he was beaten by two unidentified defendant-officers, “coupled with their admission

that they were present, permits the jury, if it believes he was beaten, to find that . . . one [officer]

beat him while the other failed to intervene”).

        Additionally, video evidence shows Defendant Eason escorting Plaintiff Jackson toward

the dorm’s exit while holding a baton. (HHV at 11:07:36–11:07:49PM, 11:07:57–11:08:04PM;

CAM 8 at 22:14:08–22:14:29.) Both Plaintiff Jackson and inmate eyewitnesses testified that

Jackson was attacked by officers with batons while outside of D-2. This and other circumstantial

evidence of record, when combined with the testimony regarding Plaintiff Jackson’s assault

outside of D-2, provides enough evidence for a jury to find in Plaintiff Jackson’s favor on this

claim. “[G]iven the record here, it is up to the jury to determine whom to believe and what actually

transpired.” Skelly v. Okaloosa Cty. Bd. of Cty. Comm’rs, 415 F. App’x 153, 155 (11th Cir. 2011)

(per curiam) (citation omitted) (vacating grant of summary judgment in excessive force case where

district court failed to properly credit the plaintiff’s testimony); see also Sears v. Roberts, 922 F.3d

1199, 1206–09 (11th Cir. 2019) (vacating grant of summary judgment in excessive force and

failure to intervene case where district court credited officer affidavits and prison records,

including medical reports, over the plaintiff’s sworn version of events and finding those sworn

statements sufficient to create genuine fact issue).

        Accordingly, the Court DENIES Defendant Eason summary judgment as to Plaintiff

Jackson’s failure to intervene claim regarding the force used against him after being escorted

outside of D-2.




                                                  37
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 38 of 79




                 (2)     Plaintiff Stevenson

        Given the above analysis, the viability of Plaintiff Stevenson’s failure to intervene claim

largely hinges on whether there is evidence indicating he was still outside D-2 when Defendant

Eason emerged escorting Plaintiff Jackson. As the evidence undisputedly shows, officers escorted

Plaintiff Stevenson out of D-2 approximately one minute before Defendant Eason escorted Jackson

outside. (Doc. 291, p. 149; doc. 282-1, p. 37; see also CAM 8 at 22:13:21–22:13:40 (showing

Stevenson being escorted toward D-2’s sally port), 22:14:08–22:14:29 (showing Jackson being

escorted toward D-2’s sally port).) As with Plaintiff Jackson’s claim, Defendant Eason argues that

Plaintiff Stevenson’s escort failure to intervene claim fails due to the medical evidence and due to

Eason’s claim that he was not aware of, or involved in, the incident outside of D-2. 22 (Doc. 233,

pp. 22–24; doc. 294, pp. 12, 20.)


22
   Alternatively, Defendant Eason seeks dismissal of Plaintiff Stevenson’s escort failure to intervene claim
because he “failed to allege any specific facts in his [Amended] Complaint relating to [this] alleged
beating.” (Doc. 233-1, p. 22.) However, finding that Plaintiffs set forth colorable claims for relief, the
Court previously denied a motion to dismiss in this case (albeit filed by different Defendants). (Docs. 41,
81.) Moreover, while Plaintiffs’ Amended Complaint is not the model of clarity, it does put Defendant
Eason on notice of Plaintiff Stevenson’s failure to intervene claim. (See Doc. 24, p. 4 (“[W]itness testimony
demonstrates that Defendants beat [P]laintiffs more on that unrecorded, escorted trip [to medical].”
(emphasis in original)); pp. 7–8 (“Sergeant Joshua Eason incited, directed, and ratified the unconstitutional
beating of both Mr. Stevenson and Mr. Jackson, and failed to take reasonable steps to protect Mr. Jackson
and Mr. Stevenson from cruel and unusual punishment (excessive force) inflicted by other Defendants.”);
p. 12 (“On December 31, 2010, Smith State Prison officials performed a ‘shake down’ of the dormitory
that housed Mr. Jackson and Mr. Stevenson.”); p. 14 (“Defendants violated their own standard operating
procedures by failing to record themselves escorting Mr. Jackson and Mr. Stevenson to medical.”); p. 18
(“Furthermore, all Defendants failed to take reasonable steps to immediately stop other Defendants from
beating Mr. Jackson and Mr. Stevenson, evidenced by the facts incorporated to support this Count and by
video evidence and witness testimony.”); p. 20 (“[Defendant] Eason had the authority, by virtue of [his]
position, to stop other Defendants . . . from beating [Plaintiffs] while they were non-resisting and compliant.
Nevertheless . . . Eason failed to use [his] authority to stop the unconstitutional beating that took place in
[his] presence.”).) These allegations collectively give Defendant Eason “fair notice” of what Plaintiffs
claims are and the grounds upon which they rest. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007).
Lastly, the Eleventh Circuit case that Defendant Eason cites in requesting dismissal, Gilmour v. Gates,
McDonald & Co., 382 F.3d 1312, 1313 (11th Cir. 2004) (per curiam), concerns the improvidence of
attempting to add new, never before alleged claims by way of summary judgment response, which is not
the case here. Although discovery revealed new, previously unalleged facts regarding the contours of
Plaintiff Stevenson’s failure to intervene claim, his legal claims in this action—excessive force and failure
to intervene—did not change. Accordingly, since the Amended Complaint put Defendant Eason on notice


                                                      38
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 39 of 79




        At his deposition, Plaintiff Stevenson testified that, once outside D-2, an officer

immediately struck him with the blunt end of a pepperball gun and other officers punched him in

the head and face, using handcuffs as brass knuckles, and kicked him. (Doc. 240-3, pp. 11–12.)

Per Plaintiff Stevenson’s testimony, he was then dragged to the north security gate area and held

against the fence, where Catanzariti appeared and punched him. (Id. at p. 12.) Stevenson says he

twice lost consciousness during these attacks and that “nobody even tried to intervene; it was just

like they didn’t care.” (Id. at p. 14.) After this, officers escorted him the rest of the way to the

infirmary. 23 (Id. at pp. 12–13.)

        With the benefit of a photographic lineup of officers on duty that night, which he was not

provided at his deposition, Plaintiff Stevenson identified, by way of a sworn declaration, four

officers who took part in the attacks outside of the D-2 dormitory: Catanzariti (Bates 8228), Jones

(Bates 8233), Simmons (Bates 8298), and Harrison (Bates 8191). (Doc. 259-2, pp. 2–6; doc. 291,

pp. 2, 122, 141, 143, 160.) In addition, Inmate Neely testified that he observed the escorting

officers bang Stevenson’s head against the sally port door and then he heard Stevenson

“screaming” and “hollering” as he was outside “going up the sidewalk to medical.” (Doc. 263,

pp. 12–13.) However, Plaintiff Jackson, who was escorted outside by Defendant Eason one minute

after Stevenson, testified that he “wasn’t aware of any inmates around [him]” and that he never

saw Stevenson during his escort. (Doc. 240-2, p. 18.) This testimony calls into question whether

Plaintiff Stevenson was still immediately outside of D-2 when Defendant Eason emerged with




of the nature of the constitutional claims alleged against him, including information concerning his escort
to medical, the Court will not dismiss Plaintiff Stevenson’s escort failure to intervene claim outright.
23
   Plaintiff Stevenson noted the attacks outside of D-2 and then toward the north security gate area occurred
pretty fast, but he could not say how long exactly. (Id. at p. 24.)


                                                     39
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 40 of 79




Jackson and thus whether Defendant Eason was ever in a position to intervene in these attacks

against Stevenson.

        Plaintiff Stevenson testified he was hit with the pepperball gun by Officer Simmons when

he came out of the dormitory exit door. (Doc. 240-3, pp. 11–12; doc. 259-2, p. 4.) At this time,

Defendant Eason was still inside D-2 with Plaintiff Jackson, as was Catanzariti. Approximately

one minute later, Defendant Eason and an officer escorted Plaintiff Jackson outside of D-2,

followed by Catanzariti and another officer escorting an inmate. 24 (CAM 8 at 22:14:08–22:14:30.)

Plaintiff Stevenson testified, however, that he did not see Catanzariti outside until officers had

taken him further away from D-2’s exit, near the north gate security area. And, per the undisputed

facts, Defendant Eason never went to this area. 25 Moreover, Plaintiff Stevenson never identified

Defendant Eason as one of the officers involved in the actions against him outside, and Plaintiff

Jackson testified to never seeing Stevenson while he was outside D-2 with Defendant Eason or

when he was then escorted the rest of the way to the Smith State infirmary.

        Based on these facts and allegations, there is no evidence that Defendant Eason was in

Plaintiff Stevenson’s vicinity when he was struck just outside of D-2, nor is there any evidence

that Eason was in Stevenson’s vicinity when Stevenson was later struck by Catanzariti and others

near the north security gate. However, the duty to intervene in the use of excessive force does not

only apply to instances where an officer is close enough to physically stop the use of force. Even

officers who are simply aware of excessive force being used can have a duty “to do something.”

Bailey v. City of Miami Beach, 476 F. App’x 193, 197 (11th Cir. 2012) (per curiam) (emphasis in


24
   Defendant Catanzariti’s testimony confirms that, at this time, he escorted an inmate from the top range,
downstairs, and out the door to medical, but he denied knowing Plaintiff Jackson was being escorted out of
the dorm in front of him. (See Doc. 274, pp. 47–48.)
25
   It is undisputed that, during this sequence of events, Defendant Eason did not venture past the area
outside of D-2’s exit and did not make an escort to the infirmary. (See Doc. 282-1, p. 35.)


                                                    40
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 41 of 79




original). For example, officers who are in the presence of excessive force, but not in a position

to physically intervene, could verbally demand that the use of force be halted or could call for help.

Id.; see also Priester, 208 F.3d at 925, 927 (defendant-officer was in voice contact with fellow

officer and could have ordered the attack to stop, even though he was not in a position to physically

intervene). Total nonfeasance in the face of excessive force—or a failure to take any reasonable

steps to protect the victim of that force—is grounds for liability under Section 1983. Fundiller v.

Cooper City, 777 F.2d 1436, 1442 (11th Cir. 1985); see also Priester, 208 F.3d at 927 (concluding

that an officer who observes excessive force with “the time and ability to intervene, but [does]

nothing,” violates clearly established law).

       Here, Plaintiffs have presented enough evidence, when viewed in the light most favorable

to them, for a jury to find that Defendant Eason failed to intervene on Plaintiff Stevenson’s behalf

outside of D-2 to stop Catanzariti. Specifically, Plaintiffs have presented testimony and evidence

showing that, over a span of less than five minutes, Defendant Eason observed Catanzariti kneeling

beside a bloodied Stevenson in D-2, witnessed Catanzariti strike at Jackson with an object while

restraining him in D-2, and witnessed (and allegedly participated in) Catanzariti’s additional attack

on Jackson just after Jackson exited D-2. These facts, viewed in Plaintiffs’ favor, show the

“necessity” and “real opportunity” for Defendant Eason to intervene and prevent Catanzariti from

continuing to use gratuitous force against inmates, including Stevenson. Keating, 598 F.3d at 764.

       From this, a reasonable jury could infer that Defendant Eason was well aware of

Catanzariti’s several uses of excessive force and could find that such awareness triggered the duty

for Eason to do something to stop Catanzariti from continuing the unlawful force against

Stevenson. See Riley, 94 F.3d at 635 (an obligation to intervene arises when the defendant-officer

had “reason to expect the use of excessive force” would occur); Carr, 338 F.3d at 1273 n.27 (factors




                                                 41
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 42 of 79




relevant to whether the defendant-officer had “a reasonable opportunity to prevent” force include

his or her: involvement with the officer using force, awareness of that officer’s presence, and

ability to see the subject situation). Yet, if Plaintiffs’ testimony is believed by the jury, Defendant

Eason, while in Catanzariti’s presence outside D-2, did nothing to prevent Catanzariti from leaving

and going after Stevenson at the north security gate area. 26 And this alleged nonfeasance occurred

right after Defendant Eason would have witnessed Catanzariti twice gratuitously attack a

handcuffed Jackson. In other words, Plaintiffs have produced sufficient evidence of proof on this

claim, and genuine disputes of material fact remain. 27 “Even if [the testimonies presented] turn

out to be exaggerations or false, they are enough to raise a genuine issue of material fact about the

amount of force [Catanzariti] used and whether . . . [Defendant Eason] witnessed the incident[s]

but did not attempt to intervene . . . .” Sears, 922 F.3d at 1209 (citations omitted).




26
   Even assuming that Defendant Eason was never actually in the north security gate area, he could have
reasonably taken some steps to prevent further gratuitous uses of force by Catanzariti against handcuffed
inmates, such as calling for backup, issuing a verbal command, following after him, or alerting other officers
to his prior use of force. At the very least, under Plaintiffs’ version of events, Defendant Eason was in
voice contact with Catanzariti after observing him use excessive force against Jackson, giving him reason
and the opportunity to intervene in some fashion. See Priester, 208 F.3d at 925. It appears from the
evidence and testimony that, even from just outside the sally port exit, Defendant Eason remained in voice
contact with, as well as ear and eyeshot of, Defendant Catanzariti as he went down the secured walkway
and approached Plaintiff Stevenson at the security gate. (See Doc. 268, pp. 11–12, 33–35; doc. 268-3;
doc. 240-3, p. 12.) Moreover, the testimony of record establishes that inmates inside the dorm could hear
the beatings taking place outside; thus, a reasonable inference can be made that Defendant Eason heard this
occur too. Yet, taking Plaintiffs’ account as true as the Court must, Eason still did nothing to quell
Catanzariti.
27
    As to Defendant Eason’s argument that the six-pages of medical records on Plaintiff Stevenson,
(doc. 233-2, pp. 89–94), disprove his allegations that he was continually beaten once escorted out of D-2,
the Court finds these records insufficient for much the same reasons already explained in this Order.
Stevenson’s GDC chart indicates severe injuries to his head as well as muscle soreness on his body; four
of the pages concern CT head and facial scans; and a hospital report indicates some degree of trauma to his
right ribs. (Id.; see also doc. 259-2, pp. 52–54 (photographs of Plaintiff Stevenson’s injuries).) Thus, as
with Plaintiff Jackson, Stevenson’s medical records do not decisively indicate, one way or the other,
whether he was struck outside of D-2 as alleged.


                                                     42
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 43 of 79




       Accordingly, the Court DENIES Defendant Eason summary judgment as to Plaintiff

Stevenson’s failure to intervene claim regarding the force used against him by Catanzariti after

being escorted outside of D-2.

       D.      Excessive Force Against Plaintiff Jackson During His Escort Outside of D-2

       In addition to alleging that Defendant Eason failed to intervene on his behalf while outside

of D-2, Plaintiff Jackson also averred, in his declaration, that Eason participated in the use of

excessive force against him. (Doc. 281, pp. 2–4; see also doc. 282-1, pp. 35–36.) Defendant Eason

argues this evidence is self-serving and should not be given any weight because it is contradicted

by Jackson’s deposition testimony. 28 (Doc. 294, p. 14.)

       At his deposition, Plaintiff Jackson stated that he could not name any of the officers

involved outside of D-2 and, other than noting there were both white and black officers who took

part, he could not provide any identifying information. (Doc. 240-4, p. 16.) However, as stated

in his sworn declaration submitted in opposition to summary judgment, counsel for Defendants

did not provide Plaintiff Jackson any photographs of Smith State employees to aid him in his

identification. (Doc. 281, p. 1.) And, as Plaintiff Jackson testified at the deposition’s outset, he

had only been at Smith State for seven weeks prior to the disturbance and did not know a single

corrections officer’s name. (Doc. 240-4, p. 9.) After being shown a photographic lineup of officers

on duty that night, Plaintiff Jackson (via his sworn declaration) identified Defendant Eason as the

officer who held him at the top of the stairs and who also “physically struck [him] outside the

dormitory while [he] was handcuffed.” (Doc. 281, p. 2.) Moreover, while Plaintiff Jackson could

not name the officers who assaulted him once he was outside, he did testify that the group included


28
     Defendant Eason also contends Plaintiff Jackson’s inmate grievance contradicts his declaration.
(Doc. 294, p. 14.) However, as explained above, supra note 17, Jackson’s inmate grievance, which alleges
that officers beat him from D-2 “all the way to the medical door,” does not contradict or undermine his
allegations regarding Eighth Amendment violations that occurred outside of D-2. (Doc. 233-2, p. 83.)


                                                  43
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 44 of 79




“the same officers [who] escort[ed him] out.” (Doc. 240-4, p. 15). It is undisputed that Defendant

Eason escorted Plaintiff Jackson outside of D-2.

        In light of Plaintiff Jackson’s reasonable explanation for any inconsistency between his

deposition testimony and later declaration, (doc. 282-1, pp. 35–36), the Court cannot say it is of

no evidentiary value or decline to exclude it from consideration. See Van T. Junkins & Assocs.,

Inc. v. U.S. Indus., Inc., 736 F.2d 656, 657 (11th Cir. 1984) (noting that a later affidavit which

contradicts earlier deposition testimony can create a genuine issue of material fact when the

submitting party provides explanation for the inconsistency). These explainable discrepancies

raise issues of witness credibility suitable only for a jury to decide. 29 Plaintiff Jackson’s sworn

declaration, when combined with eyewitness testimony, the video evidence, and Defendant

Eason’s admission that he was present with Jackson outside—indeed he escorted him there—

present genuine issues of material fact that preclude summary judgment on this claim. 30 See King

v. Reap, 269 F. App’x 857, 860 (11th Cir. 2008) (per curiam) (upholding denial of summary

judgment in failure to intervene and excessive force case, because the facts as alleged by the



29
   See, e.g., Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986) (“Credibility determinations, the
weighing of evidence, and the drawing of legitimate inferences from the facts are jury functions, not those
of a judge, whether he is ruling on a motion for summary judgment or for a directed verdict. The evidence
of the non-movant is to be believed, and all justifiable inferences are to be drawn in his favor.” (citation
omitted)). Moreover, as the Eleventh Circuit has recently held, “a non-conclusory affidavit which complies
with [Federal Rule of Civil Procedure] 56 can create a genuine dispute concerning an issue of material fact,
even if it is self-serving and/or uncorroborated.” United States v. Stein, 881 F.3d 853, 858–59 (11th Cir.
2018). The prior rule to the contrary “ousted the jury from its historical role.” Id. at 860 (Pryor, J.,
concurring).
30
   Given the nature of Plaintiff Jackson and Defendant Eason’s fact dispute on this claim—Jackson avers
Eason was involved in his being gratuitously beaten while handcuffed and restrained outside of D-2 whereas
Eason avers this did not occur at all—the Court declines to engage in a full analysis of the excessive force
factors, which have previously been discussed in this Order. See supra Discussion Section’s preliminary
paragraphs; see also Fennell, 559 F.3d at 1217 (providing excessive force factors). If a jury credits Plaintiff
Jackson’s testimony and evidence, then it easily follows that Defendant Eason’s conduct in question was
done “maliciously and sadistically to cause harm,” in violation of the Eighth Amendment. Wilkins, 559
U.S. at 37.


                                                      44
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 45 of 79




plaintiff, when viewed in his favor, showed “the amount of force used was not reasonable” and

that each defendant “had the opportunity to observe that a handcuffed, non-violent suspect was

being beaten but failed to intervene”); Velazquez, 484 F.3d at 1342 (finding the plaintiff’s

testimony that the two defendant-officers were present, combined with their admissions that they

were, sufficient for a jury to find in his favor on excessive force and failure to intervene, despite

the plaintiff’s inability to positively identify which officer beat him).

        Accordingly, the Court DENIES Defendant Eason summary judgment as to Plaintiff

Jackson’s escort excessive force claim against him, arising from the disputed events outside D-2.

        E.      Qualified Immunity

        In addition, Defendant Eason asserts that he is entitled to qualified immunity on all claims.

(Doc. 233-1, pp. 24–25.) Plaintiffs oppose. (Doc. 282, pp. 19–22.)

                (1)    Legal Standard

        Qualified immunity shields “government officials performing discretionary functions . . .

from liability for civil damages insofar as their conduct does not violate clearly established

statutory or constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982); see also Lee v. Ferraro, 284 F.3d 1188, 1193–94 (11th Cir.

2002). 31    “Qualified immunity is intended to allow government officials to carry out their

discretionary duties without the fear of personal liability or harassing litigation, protecting from

suit all but the plainly incompetent or one who is knowingly violating the federal law.” Hoyt v.

Cooks, 672 F.3d 972, 977 (11th Cir. 2012) (citation and internal quotations omitted). However, it

does not protect an official who “knew or reasonably should have known that the action he took


31
   To rely upon qualified immunity, a defendant first must show that he or she acted within his or her
discretionary authority. Mobley v. Palm Beach Cty. Sheriff Dept., 783 F.3d 1347, 1352 (11th Cir. 2015).
Here, there is no dispute Defendant Eason was acting within his discretionary authority. (See Doc. 282,
pp. 19–22.) The question thus becomes whether qualified immunity bars the claims against him.


                                                  45
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 46 of 79




within his sphere of official responsibility would violate the constitutional rights of the [plaintiff].”

Holmes v. Kucynda, 321 F.3d 1069, 1077 (11th Cir. 2003) (citations and internal quotations

omitted). “Overcoming the official’s qualified-immunity defense requires a plaintiff to establish

both that the officer’s conduct violated a constitutionally protected right and that the right was

clearly established at the time of the misconduct.” Alcocer v. Mills, 906 F.3d 944, 951 (11th Cir.

2018) (citation omitted). The Court has discretion in deciding which of these two prongs to address

first. Pearson v. Callahan, 555 U.S. 223, 236 (2009).

        “[W]hether the law clearly established the relevant conduct as a constitutional violation at

the time [the defendants] engaged in the challenged acts” turns on whether the defendants had “fair

warning” that their conduct violated a constitutional right. Jones v. Fransen, 857 F.3d 843, 851

(11th Cir. 2017) (citing Coffin v. Brandau, 642 F.3d 999, 1013 (11th Cir. 2011)). In order to

demonstrate “fair warning” and defeat qualified immunity, the plaintiff must “point to binding

precedent that is materially similar,” or show the challenged conduct violated federal law with

“obvious clarity” such that “every objectively reasonable government official facing the

circumstances would know that the official’s conduct” was unlawful, despite the lack of materially

similar case law. Id. at 852; Gaines v. Wardynski, 871 F.3d 1203, 1209 (11th Cir. 2017) (binding

precedent comes from “the United States Supreme Court, the Eleventh Circuit, or the relevant

State Supreme Court” (citation and alteration omitted)). When relying on the “obvious clarity”

method, the plaintiff may invoke a “‘broader, clearly established principle’ that he asserts ‘should

control the novel facts [of the] situation.’” Fransen, 857 F.3d at 852 (citation omitted). Or, the

plaintiff may show that defendant’s conduct is “so bad that case law is not needed to establish” its

unlawfulness. Id. (citation omitted). The “obvious clarity” category has been described as

“narrow.” Id. (citing Priester, 208 F.3d at 926–27).




                                                   46
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 47 of 79




        At summary judgment, when assessing qualified immunity, the court “must take the facts

in the light most favorable to the party asserting the injury,” eliminating all issues of fact so “the

court has the plaintiff’s best case before it.” Robinson v. Arrugueta, 415 F.3d 1252, 1257 (11th

Cir. 2005). Thus, the court “determine[s] the legal issue of whether the defendant [is] entitled to

qualified immunity using the version of facts most favorable to the plaintiff.” Bates v. Harvey,

518 F.3d 1233, 1239 (11th Cir. 2008) (citation omitted).

                 (2)     Analysis

        Given the Court’s finding that, based on the facts of record, Defendant Eason could not

have intervened in Plaintiffs’ dorm altercations with Catanzariti and other officers, supra

Discussion Section I.B., Plaintiffs have failed to establish constitutional violations with respect to

these particular failure to intervene claims. As such, Defendant Eason is entitled to qualified

immunity on them. 32 See Alcocer, 906 F.3d at 951. With respect to Plaintiffs’ remaining claims—

those arising out of their escort outside of the D-2 dorm—Eason argues qualified immunity applies

“because he committed no constitutional violation.” (Doc. 233-1, p. 25.) However, the Court has

already determined that genuine disputes of material fact remain as to whether Defendant Eason

used excessive force against Plaintiff Jackson and whether he failed to intervene in other officers’

use of force against Plaintiffs outside of D-2. Taking Plaintiffs’ versions of events in the light

most favorable to them, as supported by the evidence of record described above, Robinson, 415

F.3d at 1257, the Court finds that Defendant Eason is not due qualified immunity under these

versions of events in light of clearly established law as of 2010.


32
    Because the undisputed facts show that Defendant Eason was not in a position to intervene when
Plaintiffs were subjected to excessive force in the D-2 dorm, Plaintiffs cannot show an essential element of
their claim that Defendant Eason violated their Eighth Amendment right against excessive force by failing
to intervene on their behalf, and thus Eason is entitled to qualified immunity on these excessive force claims.
See, e.g., Butler v. Norman, 766 F. App’x 924, 929 (11th Cir. 2019) (per curiam) (evidentiary failure on
essential element of constitutional claim entitles the defendant to qualified immunity)).


                                                      47
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 48 of 79




       As explained in Discussion Section I.C., supra, Plaintiffs have proffered sufficient

evidence, with the disputed facts resolved in their favor, to establish that Defendant Eason violated

the Eight Amendment when he failed to intervene whatsoever in Catanzariti and other corrections

officers’ use of excessive force against both Jackson and Stevenson while they were restrained

outside of D-2. Suffice it to say here, the beatings that took place against Plaintiffs when they

were escorted outside of D-2, as described by them and other eyewitnesses, fall within the core of

what the Eighth Amendment prohibits: “unnecessary and wanton infliction of pain” on restrained,

non-resisting inmates “for the very purpose of causing harm.” See Hudson, 503 U.S. at 4–6

(determining that prison guards who placed an inmate “in handcuffs and shackles” and beat him

while escorting him to lockdown used excessive force in violation of the Eighth Amendment even

though no serious injury occurred); Reid v. Neal, 688 F. App’x 613, 617 (11th Cir. 2017) (per

curiam) (stating that corrections officers who are present at the scene and fail to “take reasonable

steps to protect” prisoners from other officers’ excessive use of force are liable under the Eighth

Amendment for failure to intervene (citing Skrtich, 280 F.3d at 1300)).

       The law of the Eleventh Circuit “prohibit[s] the unjustified use of excessive force by a

prison guard against an inmate” who is restrained and “pose[s] no continuing threat.” Davis v.

Locke, 936 F.2d 1208, 1213 (11th Cir. 1991) (citations omitted) (threatening a handcuffed inmate

with slurs and punishment and then pulling him by his ankles from a cage, causing him to fall,

constitutes excessive force); see Harris v. Chapman, 97 F.3d 499, 505–06 (11th Cir. 1996)

(evidence that group of officers restrained inmate with a towel and then beat and verbally harassed

him, after he refused to submit to a haircut, sufficient to support jury’s finding of Eighth

Amendment violation); Williams v. Cash-C.O.I., 836 F.2d 1318, 1320 (11th Cir. 1988)

(allegations that officers “deliberately broke [inmate’s] elbow after he had ceased to resist their




                                                 48
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 49 of 79




efforts to return him to his cell” sufficient to support Eighth Amendment excessive force claim at

summary judgment). In short, “[i]t is excessive force for a jailer to continue using force against a

prisoner who already has been subdued.” Nasseri v. City of Athens, 373 F. App’x 15, 19 (11th

Cir. 2010) (per curiam) (citing Danley, 540 F.3d at 1309); see also Skrtich, 280 F.3d at 1303 (“By

1998, our precedent clearly established that government officials may not use gratuitous force

against a prisoner who has been already subdued or, as in this case, incapacitated.” (citations

omitted)).

        Here, both Plaintiffs allege that multiple corrections officers continued to attack them

outside of the dorm long after the inciting disturbance was over, while they were handcuffed and

not resisting, and that no one—including Defendant Eason—intervened on their behalf. More

specifically, under Plaintiffs’ evidence and version of the facts, Jackson’s beatings outside D-2

took place directly in Defendant Eason’s presence without intervention, while Stevenson’s

relevant beating took place partially at the hands of Catanzariti, away from Eason’s direct presence,

but just after Eason had witnessed several gratuitous uses of force by Catanzariti without

intervention. Under the Eighth Amendment, “an officer who is present at the scene and who fails

to take reasonable steps to protect the victim of another officer’s use of excessive force can be held

personally liable for his nonfeasance.” Skrtich, 280 F.3d at 1301 (citation omitted). Nonfeasance

by an officer in the face of another officer’s excessive force, when that officer is in a position to

intervene, violates clearly established law. Id. at 1301 (collecting cases). 33



33
   See also Velazquez, 484 F.3d at 1341–42 (rejecting award of qualified immunity because the plaintiff
did not know which officer beat him and concluding that a jury is permitted to find that both defendant-
officers “administered the excessive force or that one beat him while the other failed to intervene”); Ensley,
142 F.3d at 1407 (granting qualified immunity because “this is not a case in which an officer is alleged to
have stood idly by” while “an unprovoked beating [took] place in his presence” (emphasis added)); Byrd,
783 F.2d at 1007 (holding that “if a police officer, whether supervisory or not, fails or refuses to intervene
when a constitutional violation such as an unprovoked beating takes place in his presence, the officer is


                                                     49
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 50 of 79




        Because Plaintiffs’ facts, accepted as true and viewed in their favor, see supra Discussion

Section I.C., show that they were subjected to gratuitous force while outside D-2 and that

Defendant Eason did nothing to intervene in this use of force despite being in a position to respond

in some manner, he is not entitled to qualified immunity. Skrtich, 238 F.3d at 1305; see Priester,

208 F.3d at 927 (“Nor do we think particularized case law is necessary to overcome [the

defendant’s] claim of qualified immunity. That a police officer had a duty to intervene when he

witnessed the use of excessive force and had the ability to intervene was clearly established in

February 1994.” (citations omitted)). 34 In short, Defendant Eason is not entitled to qualified

immunity as his conduct, under Plaintiffs’ version of events, violated this broader clearly

established principle.




directly liable under Section 1983” and vacating summary judgment for defendant-officer who was present
at alleged excessive force but did not intervene).
34
   In Priester, the Eleventh Circuit denied qualified immunity on a failure to intervene claim despite there
being no factually similar case. 208 F.3d at 927. There the defendant-officer, standing on the top of a
canal, observed a fellow officer order his police dog to attack a compliant suspect who was in the canal
along with the other officer. Id. at 923, 925. The attack “may have lasted as long as two minutes,” but the
defendant-officer did nothing to intervene in the use of excessive force “even though he watched the entire
event and was in voice contact.” Id. at 925 (emphasis in original). After a trial at which the jury found the
defendant-officer liable for failing to intervene, the lower court had granted the defendant-officer’s motion
for judgment on the pleadings, determining that the defendant-officer was entitled to qualified immunity
on the failure to intervene claim. The Eleventh Circuit reversed, finding that the case was not like those
where the officer who failed to intervene avoided liability “because he did not observe the [force] or have
the opportunity to intervene.” Id. (citations omitted). It concluded, instead, that because the “duty to
intervene was clearly established” and the defendant-officer “did nothing” even though he “had the time
and ability to intervene,” qualified immunity was inappropriate. Id. at 927. Under these circumstances,
“no reasonable officer would believe that either the amount of force used . . . or the failure to intervene was
objectively reasonable.” Id. at 928.
    Importantly, in reversing, the Eleventh Circuit chastised the district court for “mistakenly rel[ying] upon
[the d]efendants’ version of the facts, rather [the p]laintiff’s version of the facts, as it was required to do”
and which “[t]he jury believed.” Id. at 924, 925 (emphasis in original). Here, accepting Plaintiffs’ version
of the facts (which a jury will be entitled to believe), the Court concludes that no reasonable officer would
find it lawful to allow another officer to twice attack a handcuffed, restrained inmate in his presence, and
then allow that same officer to leave that attack to seek out another inmate further down the secured
walkway, without any intervention whatsoever. This would be an “obvious” violation of the clearly
established duty to intervene. See Fransen, 857 F.3d at 852.


                                                      50
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 51 of 79




        Similarly, as explained in Discussion Section I.D., Plaintiff Jackson has proffered sufficient

evidence, with the disputed facts resolved in his favor, to establish that Defendant Eason violated

the Eighth Amendment when he used force against Jackson outside of D-2. “The use of force

must stop when the need for it to maintain or restore discipline no longer exists.” Skrtich, 238

F.3d at 1304. Thus, as set forth by the cases cited above, it is a violation of clearly established

Eighth Amendment law “to use gratuitous force against a prisoner who has been already subdued.”

Id. at 1303. Under Plaintiff Jackson’s facts, accepted as true and viewed in his favor, at the time

of Defendant Eason’s attack on him outside of D-2, the disturbance at Smith State had stopped,

order was restored, and he had been restrained with handcuffs and was compliant while surrounded

by other officers, see supra Discussion Section I.D. These allegations make out an Eighth

Amendment excessive force claim. In the Eleventh Circuit, “a defense of qualified immunity is

not available in cases alleging excessive force in violation of the Eighth Amendment, because the

use of force ‘maliciously and sadistically to cause harm’ is clearly established to be a violation of

the Constitution by [prior] Supreme Court decisions.” Skrtich, 280 F.3d at 1301 (citation omitted).

Accordingly, because Plaintiff Jackson’s allegations and accompanying eyewitness testimony

would allow a reasonable jury to find that Defendant Eason used force against him “maliciously

and sadistically to cause harm,” Defendant Eason is not entitled to qualified immunity on Jackson’s

escort excessive force claim.

        Therefore, based on the foregoing reasons, the Court DENIES Defendant Eason summary

judgment on the basis of qualified immunity as to Plaintiffs’ failure to intervene claims arising

from their escort outside of D-2 and Plaintiff Jackson’s excessive force claim regarding the same. 35



35
    As to this denial of qualified immunity, the Court emphasizes “that the ‘facts,’ as accepted at the
summary judgment stage of the proceedings, may not be the ‘actual’ facts of the case.” Priester, 208 F.3d
at 925 n.3. However, based on the applicable standard and the facts assumed thereunder, Defendant Eason


                                                   51
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 52 of 79




However, because Defendant Eason did not violate Plaintiffs’ constitutional rights when he failed

to intervene in their altercations inside the D-2 dorm, the Court GRANTS Defendant Eason

summary judgment on the basis of qualified immunity as to these claims.

       F.      Conclusions on Defendant Eason’s Motion for Summary Judgment

       For the reasons and in the manner set forth above, the Court GRANTS in part and

DENIES in part Defendant Eason’s Motion for Summary Judgment. (Doc. 233) Accordingly,

the Court DISMISSES Plaintiffs’ failure to intervene claims against Defendant Eason concerning

his inaction during the events inside D-2. In addition, the Court DISMISSES Plaintiffs’ in-dorm

excessive force claims against Defendant Eason, Plaintiff Stevenson’s escort excessive force

claim, Plaintiffs’ constitutional claims concerning the alleged events in the infirmary, and

Plaintiffs’ supervisory liability claims. However, because the disputed evidence on Plaintiffs’

failure to intervene claims—concerning both their escorts outside D-2—and on Plaintiff Jackson’s

excessive force claim concerning the same presents genuine issues of material fact that must be

resolved at trial, Defendant Eason is not entitled to judgment as a matter of law. As such, these

claims remain pending before the Court.

II.    Defendant Attical’s Motion for Summary Judgment (Doc. 237)

       At summary judgment, Plaintiffs maintain the following claims against Defendant Attical:

(1) failure to intervene in Plaintiff Stevenson’s altercations with officers in the dorm, (2) use of

excessive force against Plaintiffs in the dorm, (3) failure to intervene in the events which took

place during Plaintiffs’ escort from the dorm, and (4) use of excessive force during Plaintiffs’

escort from the dorm. (See Doc. 278, pp. 1–2, 14–22; see also doc. 278-1, pp. 4–11.) Defendant




is not entitled to qualified immunity. If appropriate, Defendant Eason may reassert qualified immunity
based on the facts found at trial by the jury.


                                                 52
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 53 of 79




Attical seeks summary judgment as to all claims brought against him by Plaintiffs. 36 (Docs. 237,

238.)

        A.       The Parties’ Arguments

        As to Plaintiffs’ excessive force claims, concerning both the events inside D-2 and the

ensuing infirmary escort, Defendant Attical argues that there is no evidence showing he used any

force against Plaintiffs that night. (Doc. 238, pp. 9–10.) Specifically, Defendant Attical contends

the video and testimonial evidence of record indicate that he was not near either Plaintiff when the

alleged excessive force occurred. (Id.) Similarly, with respect to Plaintiffs’ failure to intervene

claims, Defendant Attical asserts he is not liable because there is no evidence he was ever aware

of, or in a position to intervene in, the alleged excessive force events. (Id. at pp. 10–12.) He

further argues that he could not have intervened during the in-dorm uses of force because he was

blinded by pepper spray and engaged in restraining another inmate, and also because the force

happened so quickly. (Id.) Lastly, Defendant Attical asserts qualified immunity with respect to

all claims. 37 (Id. at pp. 12–14.)



36
    As noted, in their First Amended Complaint, Plaintiffs asserted their excessive force and failure to
intervene allegations and claims generally against all Defendants in this action. (See Doc. 24, pp. 5–19.)
Following discovery, however, Plaintiffs have not pressed their claims against Defendant Attical regarding
failure to intervene on Plaintiff Jackson’s behalf in D-2 or regarding excessive force and failure to intervene
during their time in the infirmary. (See Doc. 278, pp. 1–2, 14–22; doc. 278-1, pp. 4–8, 10; see also doc. 293,
p. 12 & n.5.) Defendant Attical argues that Plaintiffs lack evidence to support these claims. (Doc. 237;
doc. 238, pp. 9–12) (note that he makes this same argument as to all of Plaintiffs’ claims, regardless of the
setting in which they allegedly occurred).) Because Plaintiffs have failed to offer any evidentiary support
for their claims that Defendant Attical failed to intervene on Jackson’s behalf in the dorm or used excessive
force or failed to intervene during Plaintiffs’ time in the prison infirmary, the Court GRANTS Attical’s
Motion for Summary judgment as to these claims, (doc. 237). Fed. R. Civ. P. 56(a); Moton, 631 F.3d at
1341.
37
   In addition, Defendant Attical argues that, because he believes Plaintiffs have “no evidence in this case
to support [their] claims,” he is entitled to attorney’s fees and costs under 42 U.S.C. § 1988 and 28 U.S.C.
§ 1920, should he be granted summary judgment. (Doc. 238, pp. 14–15.) Given that the Court has denied
Defendant Attical’s summary judgment motion in part, it declines to award him fees and costs at this stage
of the litigation.


                                                      53
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 54 of 79




       In response, Plaintiffs contend that eyewitness testimony establishes Defendant Attical was

a “central cast member in the brutal hammer beating of nonresistant [Plaintiff] Stevenson.”

(Doc. 278, p. 1.) They point to several witnesses who testified that Defendant Attical either

participated in or was in the vicinity of Catanzariti’s attack on Stevenson, and they contend that

Attical’s pepper spray explanation is contradicted by the record. (Id. at pp. 16–22.) Additionally,

as to their excessive force and failure to intervene claims arising out of the infirmary escort,

Plaintiffs assert the video evidence “places Attical at the scene outside when multiple officers

continued to brutalize nonresistant Jackson and Stevenson.” (Id. at p. 2.) This circumstantial

evidence, they contend, creates an issue of fact as to whether Defendant Attical was one of the

abusers outside of D-2, failed to intervene there, or both. (Id.) Lastly, Plaintiffs argue that

Defendant Attical is not entitled to qualified immunity. (Id. at pp. 22–25.)

       In his Reply, Defendant Attical disputes Plaintiff Stevenson’s presentation of the in-dorm

eyewitness testimony, arguing that eyewitnesses “either cannot remember Defendant’s

involvement, retracted their statements about [his] involvement, or are contradicted by the

eyewitnesses who discussed the video evidence.” (Doc. 293, p. 3.) Specifically, Defendant Attical

argues that the testimony of Officers Hill, Harrison, and Catanzariti as well as that of Inmates

Briscoe, Thomas, Satterfield, Cratic, and Neely does not support Plaintiff Stevenson’s in-dorm

excessive force and failure to intervene claims. (Id. at pp. 4–10.) Finally, as to Plaintiff Jackson’s

in-dorm excessive force claim and Plaintiffs’ claims stemming from their escort to the infirmary,

Defendant Attical argues he is entitled to summary judgment because Plaintiffs lack sufficient

evidence. (Id. at pp. 12–15.)




                                                 54
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 55 of 79




        B.      Excessive Force Against Plaintiff Jackson in D-2

        In their Response brief, Plaintiffs fail to offer any discussion of their claim that Defendant

Attical used excessive force against Jackson in the dorm. (See Doc. 278.) They argue that

“[g]enuine issues of material fact exist as to whether Attical failed to intervene in Catanzariti’s use

of force on Stevenson and as to whether Attical himself used excessive force on both Stevenson

and Jackson [or failed to intervene on their behalf outside],” but Plaintiffs make no mention of

Attical using force against or failing to intervene on Jackson’s behalf inside D-2. (Id. at p. 14.)

However, in responding to Defendant Attical’s Statement of Undisputed Material Facts, Plaintiffs

assert that inmate Shawn Thomas identified Attical as an officer who beat Jackson on the upper

range. (Doc. 278-1, p. 6; see also doc. 293, p. 12 & n.5.) Although Plaintiffs provide no further

discussion or support of this claim, the Court addresses it out of an abundance of caution.

        At his deposition, Mr. Thomas initially identified Defendant Attical as “the large black

officer from the third shift” who, along with other officers (one of whom wore a wool cap), kicked

and beat Plaintiff Jackson on the upper range. 38 (Doc. 193, pp. 11–12.) On further examination,

however, Mr. Thomas revised this identification. He stated that the large black officer from third

shift was Lieutenant McFarlane (also known as “Debow”), not Defendant Attical. (Id. at p. 17;

see doc. 259, p. 57; doc. 293, p. 7.) In addition, Mr. Thomas identified the young officer wearing

the wool cap as someone other than Defendant Attical. 39 (Doc. 193, pp. 13, 17; see HHV at

11:02:49PM, 11:11:01PM.) Thus, when read in full, Mr. Thomas’s deposition testimony provides


38
    It is undisputed that the individual photographed at Bates 8196 is Defendant Attical. (See Doc. 293,
p. 7; doc. 259, p. 37.)
39
    Based on the Court’s review of Mr. Thomas’s deposition, he never positively identified the officer
wearing the wool cap, (see doc. 193, pp. 11–13, 16–17), but it is clear that the person he identified in the
handheld video at 11:02:49PM and 11:11:01, a black man wearing a wool cap, is not Defendant Attical.
(Compare HHV 11:02:49PM, 11:11:01PM with Doc. 259, p. 37 (identifying Defendant Attical as the
officer in Bates 8196); doc. 259-1, p. 31 (Bates stamped photograph of Defendant Attical).)


                                                    55
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 56 of 79




no evidence that Defendant Attical used excessive force against Plaintiff Jackson inside the D-2

dormitory. Furthermore, Plaintiffs do not offer any other evidentiary basis to show that Defendant

Attical was one of the officers who allegedly used excessive force against Jackson on the upper

range of D-2. And, as previously explained, they do not press this claim whatsoever in their

summary judgment briefing. Because Plaintiffs lack any evidence showing that Defendant Attical

used excessive force against Plaintiff Jackson in the D-2 dormitory, Attical is entitled to judgment

as a matter of law on this claim. Fed. R. Civ. P. 56(a); Moton, 631 F.3d at 1341.

       Accordingly, the Court GRANTS Defendant Attical summary judgment as to Plaintiff

Jackson’s in-dorm excessive force claim against him.

       C.      Failure to Intervene and Excessive Force Against Plaintiff Stevenson in D-2

       Evaluation of Plaintiff Stevenson’s in-dorm claims against Defendant Attical for excessive

force and failure to intervene requires consideration of several eyewitnesses’ disputed testimonies.

(See Doc 278-1, pp. 4–8; doc. 293, pp. 4–10.) The Court considers this officer and inmate

testimony, as presented by the parties, in turn.

               (1)     Officer Testimony

       Defendant Caleb Harrison testified that “Attical might have been there” when he tackled

Plaintiff Stevenson on the upper range as the disturbance broke out, but he noted that he did not

remember due to the passage of time since the incident. (Doc. 268, pp. 5–6.) Harrison added that

Attical “was right beside me whenever we were locking people down [on the upper range by cells

225, 226, and 227,] and he and I both ran to assist whenever everything started off. That’s the last

thing I remember of him.” (Id. at p. 19.) However, upon reviewing the handheld video, Harrison

noted that Defendant Attical was not shown heading up the stairs with him at 10:57:04PM; instead,

Attical is shown on the bottom range checking cell doors. (Id. at p. 36.) Harrison also stated that




                                                   56
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 57 of 79




he did not “think” Defendant Attical was around him when he and Catanzariti were attempting to

handcuff Plaintiff Stevenson and Catanzariti is shown striking at Stevenson. (Id.)

       Officer Hill initially testified that Defendant Attical was one of several officers “crowding

around” Plaintiff Stevenson when Catanzariti was using force against a prone Stevenson on the

upper range. (Doc. 267, p. 12.) Hill later explained that she identified Attical because he was

“upstairs on the floor” but she was “not sure if it was before the incident or after.” (Id. at pp. 25–

26.) Nevertheless, Hill identified Attical on the upper range, heading toward Plaintiff Stevenson’s

location, at the 11:03:40PM mark on the handheld video—fifty seconds after Catanzariti is shown

striking Stevenson, (id. at p. 26). In concluding her testimony, Hill testified that she never

witnessed Defendant Attical use force that night and that she could not recall whether he was in

the group of officers around Plaintiff Stevenson during the time in question. (Id. at p. 41.)

       Defendant Catanzariti testified that he assisted Defendant Attical, who was blinded by

pepper spray, with handcuffing Inmate Norman on the upper range and walking Norman

downstairs. (Doc.267, p. 30.) Catanzariti clarified that this occurred after he was shown on the

handheld video striking Plaintiff Stevenson. (Id. at p. 52.) In addition, Catanzariti indicated that

he assisted Defendant Attical with Inmate Norman in an area five cells down from where

Catanzariti had been involved with Plaintiff Stevenson on the upper range of D-2. (Id. at p. 40;

see doc. 274-8.)

               (2)     Inmate Testimony

       Inmate Neely identified Defendant Attical as one of the “officer[s] that was initially there

when [the disturbance] first started.” (Doc. 263, p. 8.) Neely did not, however, indicate where

Defendant Attical was at this time or what he was doing. (See id.) After being shown the video




                                                 57
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 58 of 79




evidence, Neely stated that he could not see Defendant Attical in the events depicted, including

amongst the group of officers surrounding Catanzariti and Plaintiff Stevenson. (Id. at p. 23.)

        Inmate Briscoe testified that Defendant Attical “was one of the officers that had [Plaintiff

Stevenson] on the ground” with Catanzariti. (Doc. 191, p. 6.) While viewing the handheld video

of Plaintiff Stevenson being escorted down from the upper range, Briscoe testified that Defendant

Attical was on the bottom level but added, “now I seen him kick [Stevenson] in the head too.” (Id.

at pp. 9–10.) Prior to his deposition, Briscoe gave a statement to the GBI indicating he had gotten

out of the shower as the disturbance commenced, (id. at p. 49), but at his deposition, Briscoe

clarified that he was not in the shower during the subject events and could see them as he looked

out from his cell door, (id. at pp. 16, 18).

        Inmate Satterfield testified that he “could not say for sure,” but that he believed Defendant

Attical was one of the officers who was surrounding Plaintiff Stevenson as Catanzariti struck him

with a hammer. (Doc. 262, p. 11.) When asked again, Satterfield stated that, “to the best of [his]

knowledge,” Defendant Attical was there when Plaintiff Stevenson was attacked by Catanzariti.

(Id. at p. 30.)

        Inmate Thomas, as discussed above, initially identified Defendant Attical as the “large

black officer from the third shift” who beat and kicked Plaintiff Stevenson. (Doc. 193, p. 12.)

However, the Court has already found that Thomas revised his testimony to state that Lieutenant

McFarlane was this officer, not Defendant Attical, see supra Discussion Section II.A. Moreover,

like with Plaintiff Jackson, inmate Thomas does not provide any additional testimony regarding

Defendant Attical’s alleged use of force and failure to intervene with respect to Plaintiff Stevenson

during the subject disturbance. (See Doc. 193.)




                                                 58
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 59 of 79




                (3)      Analysis

        Defendant Attical urges the Court to discount the eyewitness testimony that implicates him

in the attack against Plaintiff Stevenson in D-2, arguing that the cumulative effect of it, in light of

the record, does not show he was involved. (Doc. 293, p. 10.) Moreover, Defendant Attical argues

he could not have been involved because he was blinded by pepper spray during the time in

question. (Id. at p. 11.) Plaintiff Stevenson contends, however, that the testimony creates a

genuine dispute of material fact about whether Defendant Attical used excessive force against him

or could have intervened in the use of force against him in D-2. (Doc. 278, pp. 20–21.) Reviewing

this testimony and the video evidence, the Court agrees.

        Officers Harrison and Hill both identified Defendant Attical as an officer on the upper

range at some point during the disturbance. For her part, Officer Hill initially testified that

Defendant Attical was one of the officers surrounding Plaintiff Stevenson when Catanzariti was

using force against him, but she later concluded that she was not sure. Nonetheless, Hill never

testified that she was initially wrong and that Defendant Attical was not one of those officers. For

his part, Officer Harrison gave clear testimony that Defendant Attical was on the upper range near

cells 225, 226, and 227, at the top of the stairs, when the disturbance broke out. These cells are on

the same wing of the upper range where Catanzariti struck Plaintiff Stevenson, approximately five

cell spaces from this location. (See Doc. 274-8.) Although Officer Harrison stated he did not

think Defendant Attical was around him when he restrained Plaintiff Stevenson, he never

conclusively testified to the contrary. Lastly, Officer Catanzariti’s testimony places Defendant

Attical on the same wing of the upper range sometime after the force in question, approximately

five cells down from where Catanzariti admittedly struck Plaintiff Stevenson. 40 (See id.)


40
   As a point of clarity, Officer Harrison’s testimony places Defendant Attical on this wing of the D-2 upper
range at the top of the stairs (the same staircase discussed throughout this Order) as the disturbance began;


                                                     59
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 60 of 79




        As to the inmate eyewitnesses, Briscoe maintained that Defendant Attical struck Plaintiff

Stevenson on the upper range and was one of the officers that had Stevenson handcuffed and on

the ground as Catanzariti attacked. Inmate Satterfield testified that, as best as he could recollect,

Defendant Attical was involved in the use of force against Plaintiff Stevenson on the upper range

of D-2. And, although the testimony of inmates Neely and Thomas is less than probative of this

issue, neither of their testimonies contradict or call into question the other eyewitnesses cited by

Plaintiff Stevenson. Moreover, none of the video evidence contradicts Briscoe’s accusations that

Defendant Attical used force against Plaintiff Stevenson and restrained him during Catanzariti’s

use of force, or the other eyewitness testimony that places Defendant Attical in close vicinity to

Plaintiff Stevenson on the upper range during the time in question. 41

        Lastly, although there is no dispute that Defendant Attical was sprayed with pepper spray,

(doc. 278-1, pp. 3–4), Plaintiffs dispute that he was fully incapacitated and they further argue that

this evidence shows Attical was on the upper range near Plaintiff Stevenson when Catanzariti used

force against him, (id. at pp. 4, 8). As discussed previously, Defendant Eason deployed pepper


Officer Catanzariti’s testimony, meanwhile, places Defendant Attical on the other end of this wing after the
disturbance had ended. (See Doc. 274-8.) These two locations span a total of ten prison cells, with
Catanzariti’s use of force against Plaintiff Stevenson taking place roughly at the midpoint. (See id.)
41
    Defendant Attical makes the argument that, because the video evidence shows he was on the bottom
range two minutes and thirty-six seconds prior to the disturbance breaking out and because he was never
identified on the video footage capturing the use of force against Plaintiff Stevenson, it is established that
he was not near Plaintiff Stevenson at this time and Briscoe’s testimony to the contrary should be
discounted. (Doc. 293, pp. 5–6.) This argument is lacking for at least three reasons: (1) Defendant Attical
admits that the video evidence, particularly that recorded by the handheld camera, does not capture the
whole fight, (doc. 278-1, p. 7); (2) Officer Harrison’s testimony, which Defendant Attical never disclaimed,
places him on the upper range, only five cells down from Plaintiff Stevenson’s location, as the disturbance
began, (doc. 268, p. 19); and (3) based on the last known pre-disturbance location of Defendant Attical, as
established by the surveillance camera footage, (CAM 8 at 22:03:40–22:03:50; CAM 9 at 22:03:50–
22:04:47; doc. 268, pp. 35–36), Attical had two minutes and thirty-six seconds to go up either flight of
stairs in D-2 and traverse over to Plaintiff Stevenson’s location, which is ample time to do so. Indeed, the
surveillance video appears to show Defendant Attical heading up the other set of stairs and making his way
back around the upper range of the dormitory, toward Plaintiff Stevenson’s direction. (See CAM 7 at
22:04:47–22:06:00.)


                                                     60
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 61 of 79




spray from the bottom of D-2 toward where officers were restraining and using force against

Plaintiff Stevenson, and Officer Catanzariti assisted Defendant Attical handcuff inmate Norman

on the upper range in the same immediate area where Eason aimed the pepper spray. (See CAM 9

at 22:07:26–22:07:40; doc. 274-8.) Taken together, this is sufficient evidence, when combined

with other eyewitness testimony, to permit a reasonable jury to find that Defendant Attical was

involved in the restraining and use of force against Plaintiff Stevenson inside D-2. Further, while

Defendants Attical and Catanzariti testified that Attical was blinded by the pepper spray,

Catanzariti admitted that he relied on Attical to correctly identify Norman. (Doc. 274, p. 29.) At

the time Officer Hill identified Defendant Attical on the upper range, (HHV at 11:03:40PM),

which is approximately three minutes after pepper spray was deployed, he appears to ambulate in

a manner that is not indicative of a totally blinded and incapacitated individual. 42 And, of course,

Mr. Briscoe testified to witnessing Defendant Attical play a direct role in the use of excessive force

against Plaintiff Stevenson. On the whole, this evidence creates a fact dispute as to whether

Defendant Attical was incapacitated by the pepper spray deployed that night such that he could

not have used force or intervened.

        Based on the video and testimonial evidence adduced by Plaintiffs, and making all

reasonable inferences in their favor, the Court concludes a reasonable jury could find that

Defendant Attical was on the upper range during the time in question and was involved in, or in

close vicinity to, the use of force against Plaintiff Stevenson while he was restrained and

handcuffed. Moreover, if the jury were to credit Plaintiffs’ evidence on this claim—that Defendant

Attical, along with other officers, restrained and kicked Plaintiff Stevenson in the head—it would


42
    Furthermore, just over four minutes later, Defendant Attical can be seen walking, and then running,
toward D-2’s sally port exit on the surveillance camera video in a manner inconsistent with someone
allegedly blinded by pepper spray. (CAM 8 at 22:14:27–22:14:33.) At the very least, this evidence creates
a fact dispute as to whether Defendant Attical was incapacitated by the deployment of pepper spray.


                                                   61
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 62 of 79




undoubtedly constitute excessive force in violation of the Eighth Amendment. See Piazza v.

Jefferson County, 923 F.3d 947, 953 (11th Cir. 2019) (“When jailers continue to use substantial

force against a prisoner who has clearly stopped resisting—whether because he has decided to

become compliant, he has been subdued, or he is otherwise incapacitated—that use of force is

excessive.” (alteration and emphasis omitted) (quoting Danley, 540 F.3d 1298, 1309 (11th Cir.

2008)). Likewise, if the jury believes Plaintiff Stevenson was beaten while restrained, the evidence

submitted permits it to also find that Defendant Attical—who allegedly held Stevenson down—

failed to intervene while Catanzariti struck him with a hammer, despite being in a position to do

so. Velazquez, 484 F.3d at 1340.

       Accordingly, the Court DENIES Defendant Attical summary judgment as to Plaintiff

Stevenson’s in-dorm excessive force and failure to intervene claims against him.

       D.      Failure to Intervene and Excessive Force Against Plaintiffs During Their
               Escort Outside of D-2

       Plaintiffs’ escort excessive force and failure to intervene claims against Defendant Attical

arise out of the same factual background as those alleged against Defendant Eason. As previously

described, Plaintiff Stevenson was escorted out by officers, followed by Plaintiff Jackson,

Defendant Eason, Catanzariti, and other officers approximately one minute later. (CAM 8 at

22:13:21–22:13:40 (Stevenson being escorted toward D-2’s sally port), 22:14:08–22:14:29

(Jackson being escorted toward D-2’s sally port by Defendant Eason and followed by Catanzariti

and other officers).) One of those other officers was Defendant Attical. The surveillance camera

video shows Defendant Attical walking behind Catanzariti, an inmate, and another officer (who

are themselves following Defendant Eason and Plaintiff Jackson), and as that group goes off

screen, Attical takes off running after them. (CAM 8 at 22:14:27–22:14:32.)




                                                62
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 63 of 79




        Defendant Attical contends this circumstantial evidence is insufficient to create an actual

question of material fact on these claims, because it cannot reasonably support the inference that

he then exited and participated in, or permitted, the alleged use of excessive force against Plaintiffs

outside D-2. (Doc. 293, pp. 12–13.) According to Defendant Attical, the “justifiable inference[]

which can be drawn from [this] video evidence . . . is merely that [he] was moving in the direction

of the exit while he was inside the D-2 dorm.” (Id. at p. 13 (emphasis in original).) This, however,

is not an inference. The video straightforwardly shows, without need for inferential supposition,

Defendant Attical quickly moving toward the sally port exit while still inside D-2. (CAM 8 at

22:14:27–22:14:32.) From Defendant Attical’s last shown position on this surveillance video, the

entrance to the sally port is mere steps away. (See CAM 8 at 22:14:32; doc. 273-1.) A justifiable

inference to be made from this direct evidence is that Defendant Attical continued on the short

distance to the exterior of D-2, joining Defendants Catanzariti and Eason and Plaintiff Jackson in

the area outside the sally port exit. 43

        Standing alone, this evidence would not reasonably support a further inference that

Defendant Attical used force against Plaintiff Jackson or against Plaintiff Stevenson outside D-2,

or that he failed to intervene in other officers’ use of force. Plaintiffs, however, also testified that

they were beaten by multiple officers outside. (See, e.g., Doc. 259, pp. 77–78.) Moreover, several

inmates corroborated Plaintiffs’ accounts, testifying that they witnessed and heard multiple

officers beating Plaintiffs while they were restrained and handcuffed outside of D-2, see supra

Discussion Sections I.C. and I.D. Given this testimony and the video evidence of Defendant



43
   At his deposition, Defendant Attical mentioned that he “stepped outside” after washing his eyes out but
did not elaborate. (Doc. 214, p. 25.) Although this testimony, which lacks any precise temporal
designation, is not dispositive of whether Attical continued on outside at this time, it does establish that
Attical was outside D-2 at some point after the disturbance occurred. Defendant Attical’s admission in this
regard adds credence to Plaintiffs’ argued-for inference.


                                                    63
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 64 of 79




Attical running toward the sally port, there is more than a “mere ‘scintilla’ of evidence supporting”

Plaintiff Jackson’s claims that Defendant Attical participated in the use of gratuitous force against

him, 44 or failed to intervene, 45 outside of D-2 as Jackson was being escorted to the Smith State

infirmary. Walker v. Darby, 911 F.2d 1573, 1577 (11th Cir. 1990).

       As for Plaintiff Stevenson, however, the Court has already determined that, per the

undisputed evidence, he was no longer in the area directly outside the sally port exit when Plaintiff

Jackson and officers emerged, see supra Discussion Section I.C(2). By this time, Plaintiff

Stevenson had already been escorted further down the covered walkway outside D-2. Id. As such,

for Plaintiff Stevenson to maintain his escort excessive force claim, there must be evidence

showing Defendant Attical participated in the attacks against him that occurred at the north

security gate area where Catanzariti allegedly again used gratuitous force, (doc. 240-3, p. 12).

However, by Plaintiff Stevenson’s own testimony, the officers who attacked him once he was

outside D-2 were all white. (Id.) When asked to provide a description, Plaintiff Stevenson replied,

“[T]he only thing I can tell you was [that there were] several white [male] officers out there that

jumped me.” (Id.) Defendant Attical is black. Therefore, Defendant Attical could not have been

one of the officers that used excessive force against Plaintiff Stevenson as he was being escorted

outside to the infirmary.

       Nevertheless, applying the Court’s analysis of Plaintiff Stevenson’s escort failure to

intervene claim against Defendant Eason, see supra Discussion Section I.C(2), to the same claim



44
   Notably, when asked to describe the officers who attacked him once he was taken outside the dorm,
Plaintiff Jackson testified that there were both black and white officers at fault. (Doc. 240-4, p. 16.)
Defendant Attical is one of the black officers who was on duty that night.
45
   Based on the video and testimony discussed herein, a jury could find that Defendant Attical followed
Plaintiff Jackson outside where officers began beating Jackson, thus putting Attical in a position to
intervene in that force.


                                                  64
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 65 of 79




here against Defendant Attical, the Court finds that Stevenson has produced enough evidence to

also show that Defendant Attical was in a position to intervene to prevent Catanzariti from using

excessive force against him at the north security gate area. 46 Like Defendant Eason, the evidence

would permit a determination that Defendant Attical knew of Catanzariti’s gratuitous use of force

and could have done something to prevent him from attacking Plaintiff Stevenson further down

the fenced walkway to the infirmary. In fact, if Plaintiffs’ evidence is believed by a jury, Defendant

Attical would have been a witness to Catanzariti’s excessive use of force against Plaintiff

Stevenson on the upper range of D-2 (or perhaps even a participant in the use of force himself)

approximately five minutes prior to when he followed Catanzariti outside.                   Once outside,

Defendant Attical would have been a witness to Catanzariti’s excessive use of force against

Plaintiff Jackson. By this point, Defendant Attical would have clear “reason to expect the use of

excessive force” by Catanzariti would continue. Riley, 94 F.3d at 635. Thus, viewed in the light

most favorable to Plaintiffs, the evidence shows Defendant Attical had an obligation to do

something at this juncture to prevent Catanzariti from continuing to use gratuitous force against

inmates and was in a position to do so, yet did nothing. 47 In other words, Plaintiffs have adduced

sufficient evidence for a jury to find that Defendant Attical was in a position to intervene and



46
    Should Plaintiffs’ testimonial evidence and interpretation of the surveillance video be believed by the
jury, then Defendants Attical and Eason would have been in the exact same location together just outside
the sally port door and would have necessarily witnessed, or participated in, the same events. Notably, the
testimony of Plaintiffs and their witnesses, as compared to that provided by Defendants Attical and Eason,
regarding what occurred outside of D-2 is irreconcilable. Where there are two competing accounts of what
occurred, it is for a jury to decide which is credible. See Fils, 647 F.3d at 1292 n.24.
47
   This evidence would permit a reasonable jury to find that, while witnessing Catanzariti strike Plaintiff
Jackson in his immediate vicinity, Defendant Attical could have called for backup, issued a verbal
command, or physically intervened to prevent him from leaving the area outside D-2 and continuing to use
gratuitous force. Moreover, even if the facts indicate that Defendant Attical was never directly in the north
security gate area—where Stevenson alleges Catanzariti struck him outside—it stands to reason that he
could have heard Catanzariti’s use of force against Stevenson, because inmates inside D-2 testified to
hearing officers strike Plaintiffs as they were being escorted outside.


                                                     65
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 66 of 79




prevent the alleged use of force by Catanzariti against Plaintiff Stevenson during his infirmary

escort.

          Accordingly, the Court DENIES Defendant Attical summary judgment as to Plaintiff

Jackson’s escort excessive force and failure to intervene claims and as to Plaintiff Stevenson’s

escort failure to intervene claim. However, the Court GRANTS Defendant Attical summary

judgment as to Plaintiff Stevenson’s escort excessive force claim alleged against him.

          E.     Qualified Immunity

          In addition, Defendant Attical asserts that he is entitled to qualified immunity on all claims.

(Doc. 238, pp. 12–14.) Plaintiffs oppose. (Doc. 278, pp. 22–25.)

                 (1)     Legal Standard

          As set forth above, qualified immunity shields “government officials performing

discretionary functions . . . from liability for civil damages insofar as their conduct does not violate

clearly established statutory or constitutional rights of which a reasonable person would have

known.” Harlow, 457 U.S. at 818; see also Lee, 284 F.3d at 1193–94. 48 To overcome the

qualified-immunity defense, a plaintiff must “establish both that the officer’s conduct violated a

constitutionally protected right and that the right was clearly established at the time of the

misconduct.” Alcocer, 906 F.3d at 951. “[W]hether the law clearly established the relevant

conduct as a constitutional violation at the time [the defendants] engaged in the challenged acts,”

turns on whether the defendants had “fair warning” that their conduct violated a constitutional

right. Fransen, 857 F.3d 843, 851 (11th Cir. 2017) (citation omitted).




48
   To rely upon qualified immunity, a defendant first must show that he or she acted within his or her
discretionary authority. Mobley, 783 F.3d at 1352. Here, there is no dispute Defendant Attical was acting
within his discretionary authority. (See Doc. 278, pp. 22–25.) The question thus becomes whether qualified
immunity bars the claims against him.


                                                    66
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 67 of 79




       In order to demonstrate “fair warning” and defeat qualified immunity, the plaintiff must

“point to binding precedent that is materially similar,” or show the challenged conduct violated

federal law with “obvious clarity” such that “every objectively reasonable government official

facing the circumstances would know that the official’s conduct” was unlawful, despite the lack

of materially similar case law. Id. at 852; Gaines, 871 F.3d at 1209 (binding precedent comes from

“the United States Supreme Court, the Eleventh Circuit, or the relevant State Supreme Court”

(citation and alteration omitted)). When relying on the “obvious clarity” method, the plaintiff may

invoke a “‘broader, clearly established principle’ that he asserts ‘should control the novel facts [of

the] situation.’” Fransen, 857 F.3d at 852 (citation omitted). Or, the plaintiff may show that

defendant’s conduct is “so bad that case law is not needed to establish” its unlawfulness. Id.

(citation omitted). The “obvious clarity” category has been described as “narrow.” Id. (citing

Priester, 208 F.3d at 926–27).

       At summary judgment, when assessing qualified immunity, the court “must take the facts

in the light most favorable to the party asserting the injury,” eliminating all issues of fact so “the

court has the plaintiff’s best case before it.” Robinson, 415 F.3d at 1257. Thus, the court

“determine[s] the legal issue of whether the defendant [is] entitled to qualified immunity using the

version of facts most favorable to the plaintiff.” Bates, 518 F.3d at 1239 (citation omitted).

               (2)     Analysis

       Given the Court’s finding that, based on the facts of record, Defendant Attical did not use

excessive force against Plaintiff Jackson in the dorm, supra Discussion Section II.B., and did not

use excessive force against Plaintiff Stevenson during his escort outside of the dorm, supra

Discussion Section II.D., Plaintiffs have failed to establish constitutional violations with respect




                                                 67
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 68 of 79




to these claims. As such, Defendant Attical is entitled to qualified immunity on them. 49 See

Alcocer, 906 F.3d at 951. With respect to Plaintiffs’ claims where the Court has identified material

fact disputes precluding summary judgment—excessive force against and failure to intervene to

protect Plaintiff Stevenson in the dorm; excessive force against Plaintiff Jackson outside; and

failure to intervene to protect both Plaintiffs outside during their infirmary escort—Defendant

Attical repeats his contention that there is insufficient evidence against him. (Doc. 238, p. 14.)

However, the Court has already determined that Plaintiffs have adduced enough evidence to

preclude summary judgment on these claims. Thus, taking Plaintiffs’ versions of events in the

light most favorable to them, as supported by the evidence of record described above, Robinson,

415 F.3d at 1257, the Court finds that Defendant Attical is not due qualified immunity under these

versions of events in light of clearly established law as of 2010.

        As explained in Discussion Section II.C., Plaintiffs proffered sufficient evidence, with the

disputed facts resolved in their favor, to establish that Defendant Attical violated the Eighth

Amendment when he, along with other officers, kicked a non-resistant, restrained Plaintiff

Stevenson and also held him down as other officers battered him. Once an inmate has been

restrained and become complaint, further use of serious force is unconstitutionally excessive. “The

basic legal principle is that once the necessity for the application of force ceases, any further use

of harmful force can be a violation of the Eighth and Fourteenth Amendments.” Williams v.

Burton, 943 F.2d 1572, 1576 (11th Cir. 1991). It bears repeating here, “[w]hen jailers continue to

use substantial force against a prisoner who has clearly stopped resisting—whether because he has


49
   Because the evidence, construed in Plaintiffs’ favor, would not allow a jury to find that Defendant Attical
used excessive force against Plaintiff Jackson in the dorm or against Plaintiff Stevenson during his escort
outside the dorm to the infirmary, Plaintiffs cannot establish constitutional violations on these claims. Thus,
Defendant Attical is entitled to qualified immunity as to them. See, e.g., Butler, 766 F. App’x at 929
(evidentiary failure on essential element of constitutional claim entitles the defendant to qualified
immunity)).


                                                      68
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 69 of 79




decided to become compliant, he has been subdued, or he is otherwise incapacitated—that use of

force is excessive.” Danley, 540 F.3d at 1298. Kicking a subdued inmate in the head constitutes

an unnecessary and wanton infliction of pain that violates the Eighth Amendment, and thus,

Defendant Attical is not able to invoke the qualified immunity defense on this excessive force

claim. See Skrtich, 280 F.3d at 1301 (citation omitted).

        Moreover, as has been made evident throughout this Order, the Eleventh Circuit has long

adhered to the broad and clearly established principle that “an officer who is present at the scene

and who fails to take reasonable steps to protect the victim of another officer’s use of excessive

force can be held personally liable for his nonfeasance.” 50 Skrtich, 280 F.3d at 1302. Even if

Plaintiff Stevenson fails to convince a jury that Defendant Attical actually used excessive force

against him in the dorm, he still could convince a jury, under his failure to intervene theory, that

Defendant Attical held Plaintiff Stevenson down as Catanzariti and other officers used gratuitous

force on him, rather than intervening once the force became excessive. On this version of events,

Defendant Attical is not entitled to qualified immunity on Plaintiff Stevenson’s in-dorm failure to

intervene claim.

        Similarly, as explained in Discussion Section II.D., Plaintiffs have adduced enough

evidence for a jury to find that Defendant Attical used excessive force against Plaintiff Jackson or

failed to intervene in his fellow officers’ alleged use of force against Jackson, or both, as he was



50
   See also Velazquez, 484 F.3d at 1341–42 (rejecting award of qualified immunity based on the plaintiff’s
not knowing which officer beat him and concluding that a jury is permitted to find that both defendant-
officers “administered the excessive force or that one beat him while the other failed to intervene”); Ensley,
142 F.3d at 1407 (granting qualified immunity because “this is not a case in which an officer is alleged to
have stood idly by” while “an unprovoked beating [took] place in his presence”(emphasis added)); Byrd,
783 F.2d at 1007 (holding that “if a police officer, whether supervisory or not, fails or refuses to intervene
when a constitutional violation such as an unprovoked beating takes place in his presence, the officer is
directly liable under Section 1983” and vacating summary judgment for defendant-officer who was present
at alleged excessive force but did not intervene).


                                                     69
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 70 of 79




escorted through the sally port and outside of D-2. Continuing to strike a subdued Plaintiff Jackson

as he was being escorted outside D-2 and to the infirmary would amount to a violation of clearly

established Eighth Amendment law. E.g., Davis, 936 F.2d at 1213. Furthermore, on Plaintiffs’

best case, a jury could find that Defendant Attical failed to intervene as Catanzariti used force

against Jackson outside and that his failure to do so also constituted a failure to protect Plaintiff

Stevenson, because Catanzariti then went down the fenced-in walkway and attacked Stevenson at

the north gate security area. Having seen Catanzariti strike Stevenson inside the dorm and Jackson

outside the dorm, any reasonable officer in Defendant Attical’s position would have known he had

a duty to intervene to prevent further excessive force by Catanzariti. 51 That an officer was

obligated to intervene to stop the use of excessive when he observed it and had the ability to do so

was clearly established in December 2010. E.g., Skrtich, 280 F.3d at 1302; Priester, 208 F.3d at

927. On Plaintiffs’ version of the facts, Defendant Attical violated this clearly established

principle.

        Therefore, based on the foregoing reasons, the Court DENIES Defendant Attical summary

judgment on the basis of qualified immunity as to Plaintiff Stevenson’s in-dorm failure to intervene

and excessive force claims and on Plaintiff Jackson’s escort failure to intervene and excessive

force claims. In addition, the Court DENIES Defendant Attical qualified immunity as to Plaintiff

Stevenson escort failure to intervene claim. 52 However, because the evidence shows Defendant



51
  In addition, the testimonial evidence viewed in the light most favorable to Plaintiff Stevenson shows that
Defendant Attical could have heard Catanzariti’s strikes against Stevenson and remained in range of voice
contact, such that he could have verbally intervened to attempt to prevent or end the use of excessive force.
52
   As to these denials of qualified immunity, the Court again emphasizes “that the ‘facts,’ as accepted at
the summary judgment stage of the proceedings, may not be the ‘actual’ facts of the case.” Priester, 208
F.3d at 925 n.3. However, based on the applicable standard and the facts assumed thereunder, Defendant
Attical is not entitled to qualified immunity. If appropriate, Defendant Attical may reassert qualified
immunity based on the facts found at trial by the jury.


                                                     70
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 71 of 79




Attical did not use excessive force against Plaintiff Stevenson during his escort or against Plaintiff

Jackson inside the dorm, the Court GRANTS Defendant Eason summary judgment on the basis

of qualified immunity as to these claims.

        F.      Conclusions on Defendant Attical’s Motion for Summary Judgment

        For the reasons and in the manner set forth above, the Court GRANTS in part and

DENIES in part Defendant Attical’s Motion for Summary Judgment. (Doc. 237.) Accordingly,

the Court DISMISSES Plaintiff Jackson’s in-dorm excessive force claim and Plaintiff Stevenson’s

escort excessive force claim against Defendant Attical. In addition, the Court DISMISSES

Plaintiff Jackson’s in-dorm failure to intervene claim and both Plaintiffs’ constitutional claims

concerning the alleged events in the infirmary. However, because there are genuine issues of

material fact on Plaintiff Stevenson’s in-dorm failure to intervene and excessive force claims as

well as on his escort failure to intervene claim, and because there are genuine issues of material

fact on Plaintiff Jackson’s escort failure to intervene and excessive force claims, Defendant Attical

is not entitled to judgment as a matter of law on those particular claims. As such, these claims

shall remain pending before the Court.

III.    Defendant Ritchie’s Motion for Summary Judgment (Doc. 244)

        At summary judgment, Plaintiffs maintain a single claim against Defendant Ritchie: failure

to intervene on Plaintiff Stevenson’s behalf during his dorm altercation with officers. (See Doc.

277-1, pp. 7–10, 13, 15–16; see also doc. 277, pp. 1–2.) Defendant Ritchie seeks summary

judgment as to all claims brought against her by Plaintiffs. 53 (Doc. 244.)


53
    As noted, in their First Amended Complaint, Plaintiffs set forth their excessive force and failure to
intervene allegations and claims generally against all Defendants in this action. (See Doc. 24, pp. 5–19.)
Following discovery, however, Plaintiffs have indicated the undisputed facts show that Defendant Ritchie
did not use excessive force or fail to intervene in the use of excessive force when they were escorted to the
infirmary or when they were held there. (See Doc. 277-1, pp. 7–10, 13, 15–16; doc. 277, pp. 1–2; see also
doc. 295, pp. 1–3.) In addition, Plaintiffs have stipulated that Defendant Ritchie never used excessive force


                                                     71
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 72 of 79




        A.       The Parties’ Arguments

        As to Plaintiff Stevenson’s in-dorm failure to intervene claim, Defendant Ritchie argues

the duty to intervene never arose because the evidence shows she did not observe any use of force

against Stevenson, by Catanzariti or any other officer. (Doc. 244-1, pp. 9–10.) She denies that

there is any “evidence to demonstrate that [she] could have observed or actually did observe any

excessive use of force.” (Id. at p. 10.) While Defendant Ritchie acknowledges that the handheld

video footage shows a female officer standing among the crowd of officers surrounding Stevenson

while he was on the ground and being repeatedly struck by Catanzariti, she disputes whether the

female officer in question has been proven to be her; she further argues that, even if it is her, the

video footage does not establish that she witnessed a use of excessive force. (Id. at pp. 10–12.)

Any possible vantage point, Ritchie contends, was obstructed by other officers and, moreover,

Catanzariti’s strikes occurred too quickly for the approaching female correctional officer to have

been able to observe them. (Id. at pp. 12–13.)

        Alternatively, even if this female officer in the handheld video footage was her, Defendant

Ritchie contends she would have been physically incapable of intervening in the quick strikes

shown on the handheld video. (Id. at pp. 13–14.) Because there were larger male officers around

Plaintiff Stevenson and because she was recovering from bilateral knee surgery, Defendant Ritchie

asserts that “it would have been extraordinarily difficult—if not impossible—for [her] to intervene

on Stevenson’s behalf.” (Id. at p. 14.) Additionally, Defendant Ritchie argues that she cannot be

liable for failure to intervene as “she did not sit idly by when the riot broke out; rather, she promptly

radioed for assistance in very dangerous circumstances.” (Id. at p. 15.) She contends more action


against Plaintiff Jackson or Plaintiff Stevenson, nor was she ever in a position to intervene in the force other
officers used against Plaintiff Jackson. (Id.) Because the parties agree Defendant Ritchie did not act
unlawfully in these situations, the Court GRANTS her Motion for Summary Judgment as to these excessive
force and failure to intervene claims, (doc. 244). Fed. R. Civ. P. 56(a).


                                                      72
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 73 of 79




would have subjected her to danger and was not constitutionally required. (Id. at pp. 16–17.)

Lastly, Defendant Ritchie asserts qualified immunity with respect to this claim. (Id. at pp. 23–24.)

       In response, Plaintiffs argue that the law did not require Defendant Ritchie “to be Wonder

Woman that day,” only that she take some reasonable step to intervene, such as yelling for officers

to stop beating Plaintiff Stevenson. (Doc. 277, p. 2.) As such, based on the handheld video

evidence and accompanying testimony, Plaintiffs argue that “[g]enuine issues of material fact exist

as to whether [Defendant] Ritchie failed to intervene in Catanzariti’s use of force on Stevenson.”

(Id. at p. 13; see also doc. 259, pp. 53–56.) Furthermore, because the inmates had been subdued

when Catanzariti “continued to unleash on” a restrained Stevenson, Plaintiffs dispute that the

situation was too dangerous for Defendant Ritchie to do anything to protect Stevenson. (Doc. 277,

p. 19.) Plaintiffs contend she could have verbally intervened in some fashion. (Id.) Lastly,

Plaintiffs assert that Defendant Eason is not entitled to qualified immunity. (Id. at pp. 20–22.)

       Defendant Ritchie replied, arguing that Plaintiffs failed to produce evidence showing she

observed Catanzariti striking Stevenson. (Doc. 295, pp. 3, 6–9.) Moreover, Defendant Ritchie

asserts that “[e]ven assuming [she] observed that the incident had turned from the use of justified

force to regain control to excessive force, the evidence establishes that the incident complained of

was unexpected, sudden, and short in duration such that Ritchie did not have sufficient time to

give a voice command to prevent the alleged excessive use of force.” (Id. at p. 3.) Based on the

brief sequence of events, she avers that it would have been unreasonable for her to have been

legally obligated to verbally intervene. (Id. at pp. 9–11.) Defendant Ritchie thus concludes that

no issues of material fact remain and she is entitled to judgment as a matter of law. (Id. at p. 4.)




                                                 73
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 74 of 79




        B.       Failure to Intervene During Plaintiff Stevenson’s Dorm Altercation

        To reiterate, on a failure to intervene claim, the “plaintiff has the burden to demonstrate

that the defendant was in a position to intervene but failed to do so.” Ledlow, 500 F. App’x at

914 (citing Hadley, 526 F.3d at 1330–31). To meet this burden, the plaintiff must adduce “facts

showing the necessity or real opportunity for the defendant-officers to intervene in a fellow

officer’s unlawful conduct.” Keating, 598 F.3d at 764. Part of this showing requires the plaintiff

to provide evidence that the defendant-officer could observe the use of excessive force. See Riley,

94 F.3d 635; see also Militello v. Sheriff of Broward Sheriff’s Office, 684 F. App’x 809, 813 (11th

Cir. 2017) (per curiam) (An officer who “was unable to observe a fellow officer’s use of

[excessive] force” was not in a position to intervene.)

        Defendant Ritchie essentially argues that she could not observe Plaintiff Stevenson being

attacked by Catanzariti, and even if she could have, his strikes occurred too quickly for her to

intervene based on her location on the upper ramp. A close viewing of the video evidence shows

that a reasonable jury could find Defendant Ritchie observed the subject use of force, despite her

protestations to the contrary. 54 Even so, whether she was in a position to intervene, or had an

opportunity to do so, is the ultimate issue. The handheld video depicts the following:

        •    Defendant Ritchie is four cell doors down from where Catanzariti and officers
             are surrounding Plaintiff Stevenson on the ground, holding the railing as she
             bends down with her back to Stevenson’s location. (HHV at 11:02:33PM.)
        •    The handheld camera quickly flashes by this same area; Defendant Ritchie is
             now walking and looking toward Plaintiff Stevenson’s location. (Id. at
             11:02:45PM.)


54
    Although Defendant Ritchie equivocated as to whether the female correctional officer, on the upper
range during the time in question with hair styled in a bun, was actually her, (doc. 260, p. 9), two Smith
State correctional officers identified this individual as Ritchie, (doc. 214, pp. 17–18; doc. 213, pp. 15, 19).
Moreover, Defendant Ritchie testified to being on the upper range when the incident began, (HHV at
11:00:57PM), and also to being there approximately three minutes later, (Id. at 11:03:47PM). (Doc. 260,
pp. 7, 9, 14.) Given this evidence, a jury could easily find that Ritchie was the female officer identified on
the handheld video, and the Court’s analysis herein presumes as much.


                                                      74
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 75 of 79




       •   The camera pans back and shows her continuing to walk the short distance to
           where officers are surrounding Stevenson and using force against him. As she
           steps away, Catanzariti quickly delivers several hard blows to Stevenson. (Id.
           at 11:02:47PM–11:02:49PM.)
       •   Defendant Ritchie joins the group of surrounding officers and bends down
           toward Plaintiff Stevenson as Catanzariti finishes his last strike. (Id. at
           11:02:49PM–11:02:53PM.)
       •   Defendant Ritchie then disappears from view amongst this group of officers
           surrounding Plaintiff Stevenson. (Id. at 11:02:54PM–11:03:02PM.)
       •   Approximately twenty seconds later, she leaves the group and walks back
           toward where she was before. (Id. at 11:03:09PM–11:03:14PM.)
       •   In this location, Defendant Ritchie holds a handcuffed inmate against the wall.
           (Id. at 11:03:47PM–11:04:03PM.) Two minutes later, from this same location,
           she walks down the stairs and leaves the dorm. (Id. at 11:06:04PM; see also
           CAM 8 at 22:12:27–11:12:58.)

       Based on this video evidence, the earliest possible point at which Defendant Ritchie could

have seen officers using force against Plaintiff Stevenson while he was on the ground and not

resisting would be at the 11:02:45PM mark, when she began walking toward Stevenson. Before

this time, Defendant Ritchie faced away from Plaintiff Stevenson as she assisted officers with an

inmate four cell doors down. (HHV at 11:02:33PM.) What is more, Plaintiff Stevenson testified

that, once the altercation between he and Catanzariti began, Defendant Ritchie left where they

were located: “After [Catanzariti and me] talked, [Ritchie] went opposite because when the officer

sprayed, she went that way. She went opposite of where [Catanzariti] was. And when the officer

sprayed the spray, that’s the last time I saw her.” (Doc. 240-3, p. 31.) This testimony and the

handheld video together establish that Defendant Ritchie was not around Plaintiff Stevenson and

Catanzariti, and thus did not observe excessive force until she turned and began walking back

toward them at the 11:02:45PM mark.

       From this point forward, however, at most only eight seconds elapsed between when

Defendant Ritchie could have possibly seen Catanzariti use force on a restrained and non-resisting

Plaintiff Stevenson and when he ceased using such force. For liability to attach, there must have



                                               75
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 76 of 79




been “time to intervene” in the use of force, otherwise it cannot be said that the non-intervening

officer was ever in a position to intervene. Marantes v. Miami-Dade County, 649 F. App’x 665,

672 (11th Cir. 2016) (per curiam) (citations omitted). In Defendant Ritchie’s case, eight seconds

was not nearly enough time for her to ascertain that Plaintiff Stevenson was no longer resisting

and had been restrained as Catanzariti delivered several quick strikes to his head area. Even

assuming that she could see the situation, which was at least partly obstructed by other officers,

she did not have enough time to issue a verbal command to protect Plaintiff Stevenson before

Catanzariti’s rapid strikes ended. The duration of time between when Defendant Ritchie could

have possibly realized Catanzariti was using force on a compliant, handcuffed Plaintiff Stevenson

and when he stopped using that force was, at most, only a few seconds. Once Defendant Ritchie

arrived at Catanzariti’s location, he had stopped striking Plaintiff Stevenson, and the video shows

that she bent down toward Stevenson amongst this group of surrounding officers. 55

        Eleventh Circuit precedent makes clear that such a short interval of time is insufficient for

an officer to reasonably intervene in the use of excessive force. See, e.g., Johnson, 725 F. App’x

at 878 (finding no constitutional violation on a failure to intervene claim where “the whole incident

lasted only a few seconds”); Marantes, 649 F. App’x at 672 (affirming dismissal of failure to

intervene claim where officer kicked plaintiff four times in rapid succession without warning,

leaving insufficient time for any of the other officers to issue a verbal command or physically

prevent the kicking); Riley, 94 F.3d at 635 (“The three blows were struck in such rapid succession



55
   Thus, it cannot be said that Defendant Ritchie “stood idly by” while Catanzariti struck Plaintiff Stevenson
as she approached their location. Ensley, 142 F.3d at 1407. Furthermore, Plaintiffs have presented no
evidence that Catanzariti continued striking Plaintiff Stevenson in the dorm after what is shown on the
handheld video sequence, which is the point when Defendant Ritchie bent down over Stevenson and was
positioned to intervene in any continued force. (See Doc. 277, pp. 14–19; doc. 277-1; doc. 259, pp. 53–56;
see also doc. 282-1 pp. 16–17 (arguing that evidence shows the hammer beating incident occurred before
Catanzariti’s strikes captured by the handheld video)).


                                                     76
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 77 of 79




that [the defendant] had no realistic opportunity to attempt to prevent them. This was not an

episode of sufficient duration to support a conclusion that an officer who stood by without trying

to assist the victim became a tacit collaborator.” (quoting O’Neill v. Krzeminski, 839 F.2d 9, 11–

12 (2d. Cir. 1988)); see also Crane v. Fort, No. 5:15-CV-345-CAR-CHW, 2016 WL 8678447, at

*10 (M.D. Ga. Nov. 4, 2016) (“The most significant shots, to [the plaintiff’s] face, occurred only

at the end of [a thirty second] period. [Thus], the other officers were not in a position to intervene

once it arguabl[y] became apparent that the use of force had escalated beyond necessity.”), report

and recommendation adopted by 2017 WL 132846 (M.D. Ga. Jan. 13, 2017).

        Therefore, based on the undisputed evidence of record with all reasonable inferences drawn

in Plaintiffs’ favor, the Court finds that Defendant Ritchie’s failure to verbally intervene on

Plaintiff Stevenson’s behalf was not constitutionally unlawful. Plaintiffs have failed to adduce

evidence from which a reasonable jury could conclude that she had sufficient time to intervene

and protect Plaintiff Stevenson. Accordingly, the Court GRANTS Defendant Ritchie summary

judgment as to Plaintiff Stevenson’s in-dorm failure to intervene claim alleged against her.

Additionally, because the undisputed facts show that Defendant Ritchie was not in position to

intervene when Plaintiff Stevenson was subjected to excessive force by Catanzariti in the D-2

dorm, Plaintiffs cannot show an essential element of their failure to intervene claim against her;

thus, the Court GRANTS Defendant Ritchie qualified immunity on this claim. 56




56
   See, e.g., Butler, 766 F. App’x at 929 (evidentiary failure on essential element of constitutional claim
entitles the defendant to qualified immunity)).


                                                    77
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 78 of 79




                                         CONCLUSION

       In light of the foregoing, the Court GRANTS in part and DENIES in part Defendants

Eason and Attical’s Motions for Summary Judgment, (docs. 233, 237), but GRANTS Defendant

Ritchie’s Motion for Summary Judgment as to all claims alleged against her, (doc. 244). As a

result, the Court:

       •   DISMISSES with prejudice Plaintiffs’ failure to intervene and excessive force claims

           against Defendant Ritchie and DIRECTS the Clerk of Court to TERMINATE Ritchie

           as a Defendant upon the docket and record of this case.

       •   DISMISSES with prejudice the following claims against Defendant Eason: Plaintiffs’

           in-dorm failure to intervene and excessive force claims; both Plaintiffs’ claims

           regarding failure to intervene and excessive force in the infirmary; both Plaintiffs’

           supervisory liability claims; and Plaintiff Stevenson’s escort failure to intervene claim.

       •   DISMISSES with prejudice the following claims against Defendant Attical: Plaintiff

           Jackson’s in-dorm failure to intervene and excessive force claims; Plaintiff Stevenson’s

           escort excessive force claim; and both Plaintiffs’ claims regarding failure to intervene

           and excessive force in the infirmary.

However, as explained above, the following Eighth Amendment claims against Defendant Eason

remain pending: both Plaintiffs’ escort failure to intervene claims and Plaintiff Jackson’s escort

excessive force claim. And the following Eighth Amendment claims against Defendant Attical

remain pending: Plaintiff Stevenson’s in-dorm failure to intervene and excessive force claims;

Plaintiff Jackson’s escort failure to intervene and excessive force claims; and Plaintiff Stevenson’s

escort failure to intervene claim.




                                                 78
Case 6:12-cv-00113-RSB-BWC Document 312 Filed 10/02/19 Page 79 of 79




       In light of the foregoing disposition, the Court ORDERS the remaining parties to file one

updated joint status report within twenty-one (21) days of the date of this Order regarding the

status of this case and whether the parties are prepared to proceed to trial. The parties’ status report

must also address the status of those Defendants who were not subject to this Order or the

companion Order filed contemporaneously herewith, (doc. 313). As previously indicated, (docs.

174, 231), the parties have discussed voluntarily dismissing, pursuant to Federal Rule of Civil

Procedure 41(a), the following yet to be dismissed Defendants: Carolyn Carrol, Kim Hardee,

Jeffery Mullis, and Joseph White. However, in their Stipulation of Dismissal, (doc. 232), the

parties declined to dismiss these Defendants and they remain in this case. The parties must update

the Court on the status of these defendants and their relevancy to this case. Furthermore, Plaintiffs

have failed to file the requisite proof of service as to Defendants Brandon Cearnel, Christopher

Henderson, Candice Hill, John Jones, Justin Swope, and Gene Tootle. Pursuant to Federal Rule

of Civil Procedure 4(m), the Court ORDERS Plaintiffs to show cause, within twenty-one (21)

days of the date of this Order, as to why these Defendants should not be dismissed from this action

for lack of timely service. In so doing, Plaintiffs must explain these Defendants’ continued

relevancy to this case and what actionable claims, if any, remain against them. Alternatively,

Plaintiffs may move to dismiss these Defendants rather than showing cause regarding their failure

to properly comply with Federal Rule of Civil Procedure 4(m).

       SO ORDERED, this 2nd day of October, 2019.




                                        R. STAN BAKER
                                        UNITED STATES DISTRICT JUDGE
                                        SOUTHERN DISTRICT OF GEORGIA



                                                  79
